      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 1 of 76. PageID #: 1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA


 THE BOARD OF COMMISSIONERS OF
 THE COUNTY OF ALLEN,


               Plaintiff,
                                                           Case No.:
 v.

 PURDUE PHARMA L.P.; PURDUE PHARMA INC.; THE
 PURDUE FREDERICK COMPANY, INC.; TEVA
 PHARMACEUTICALS USA, INC.; CEPHALON, INC.;
 JOHNSON & JOHNSON; JANSSEN PHARMACEUTICALS,
 INC.; ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS,
 INC. N/K/A JANSSEN PHARMACEUTICALS, INC.;
 JANSSEN PHARMACEUTICA, INC. N/K/A JANSSEN
 PHARMACEUTICALS, INC.; ENDO HEALTH
 SOLUTIONS INC.; ENDO PHARMACEUTICALS, INC.;
 PERRY FINE; SCOTT FISHMAN; and LYNN WEBSTER,

               Defendants.


                                    COMPLAINT


       Plaintiff The Board of Commissioners of the County of Allen (“Allen County”), by

and through the undersigned attorneys, for their Complaint against the named

Defendants seeking to recover its damages as a result of the opioid epidemic Defendants

caused, allege as follows:

                                     Introduction

       1.     Opioid addiction and overdose in the United States as a result of

prescription opioid use has reached epidemic levels over the past decade.

       2.     While Americans represent only 4.6% of the world’s population, they
consume over 80% of the world’s opioids.
       Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 2 of 76. PageID #: 2




       3.     Since 1999, the amount of prescription opioids sold in the U.S. nearly

quadrupled.1 In 2010, 254 million prescriptions for opioids were filled in the U.S. –

enough to medicate every adult in America around the clock for a month. In that year,

20% of all doctors’ visits resulted in the prescription of an opioid (nearly double the rate

in 2000).2

       4.     By 2014, nearly two million Americans either abused or were dependent on

opioids.3

       5.     On March 22, 2016, the FDA recognized opioid abuse as a “public health

crisis” that has a “profound impact on individuals, families and communities across our

country.”4

       6.     The statistics tell a grim story. More than 40 people die every day from

overdoses involving prescription opioids. Since 1999, at least 200,000 people in the United

States have died from overdoses related to prescription opioids.

       7.     The Centers for Disease Control reports that overdoses from prescription

opioids are a driving factor in the 15-year increase in opioid overdose deaths.

       8.     While the prescriptions have quadrupled, there has not been an overall

change in the amount of pain that Americans reported. With no apparent material impact

on pain, however, people are dying from opioids in the United States every day (over


1 CDC, Injury Prevention & Control: Opioid Overdose, Understanding the Epidemic.

Available at: http://www.cdc.gov/drugoverdose/epidemic/index.html (accessed
August 18, 2017) (internal footnotes omitted).
2 M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the

United States, 2000-2010, 51(10) Med. Care 870-78 (2013).
3 CDC, Injury Prevention & Control: Opioid Overdose, Prescription Opioids. Available

at: http://www.cdc.gov/drugoverdose/opioids/prescribed.html (as viewed May 10,
2016).
4 FDA announces enhanced warnings for immediate-release opioid pain medications

related to risks of misuse, abuse, addiction, overdose and death. Available at
http://www.fda.gov/newsevents/newsroom/pressannouncements/ucm491739.htm
(accessed August 18, 2017).



                                             2
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 3 of 76. PageID #: 3




60% of drug overdose deaths now involve an opioid). From 2000 to 2015 more than half

a million people died from drug overdoses (including prescription opioids and heroin).

The most recent figures from the Centers for Disease Control suggest that 145 Americans

die every day from an opioid overdose (prescription and heroin).

      9.     Overdose deaths, however, are just the most visible consequence of an ever-

growing opioid addiction crisis. In 2012, an estimated 2.1 million people in the United

States suffered from substance use disorders related to prescription opioid pain

relievers.5 In 2015, an estimated 2,000,000 Americans aged twelve or older had a

substance use disorder involving prescription pain relievers. 6

      10.    Among long-term opioid users, between 30% and 40% experience problems

with opioid use disorders.7




5 Substance Abuse and Mental Health Services Administration, Results from the 2012

National Survey on Drug Use and Health: Summary of National Findings, NSDUH Series H-
46, HHS Publication No. (SMA) 13-4795. Rockville, MD: Substance Abuse and Mental
Health Services Administration, 2013.
6 American Society of Addition Medicine, Opioid Addiction 2016 Facts & Figures

(available at https://www.asam.org/docs/default-source/advocacy/opioid-addiction-
disease-facts-figures.pdf) (last visited October 27, 2017).
7 J. Boscarino et al., Risk factors for drug dependence among out-patients on opioid

therapy in a large US health-care system, 105(10) Addiction 1776 (2010); J. Boscarino et
al., Prevalence of Prescription Opioid-Use Disorder Among Chronic Pain Patients:
Comparison of the DSM-5 vs. DSM-4 Diagnostic Criteria, 30(3) Journal of Addictive
Diseases 185 (2011). One-third of Americans who have taken prescription opioids for at
least two months say they became addicted to, or physically dependent on them.
Available at https://www.washingtonpost.com/national/health-science/one-third-of-
long-term-users-say-theyre-hooked-on-prescription-opioids/2016/12/09/e048d322-
baed-11e6-91ee-1adddfe36cbe_story.htm?utm_term=.7259d7ee60b4 (viewed September
27, 2017).



                                            3
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 4 of 76. PageID #: 4




       11.    Many addicts, finding painkillers too expensive or too difficult to obtain,

have turned to heroin. According to the American Society of Addiction Medicine, four

out of five people who try heroin today started with prescription painkillers.8

       12.    County governments and the services they provide their citizens have been

strained to the breaking point by this public health crisis.

       13.    Indiana and Allen County are in the midst of this crisis.

       14.    In Indiana, from 2014-2016, 1,693 people have died as a result of an opioid

overdose.9

       15.    Indiana residents are now more likely to die from a drug overdose than an

automobile accident.10

       16.    Allen County’s Board of Health estimates that 50,000 people of the roughly

350,000 people in Allen County are opioid dependent in some form, with between 6,000

to 10,000 as intravenous users.

       17.    Accidental overdose deaths in Allen County have increased 113% since

2008; with a 58% increase from 2014 through 2015. There has been a progressive increase

of opioids present in the overdose deaths.11

       18.    Between 2014 and 2016, at least 49 people died from opiate overdoses in

Allen County.12 In 2017, there were at least 94 deaths from drug overdose in Allen
County, the majority of which related to opioids.


8  Opioid Addiction 2016 Facts & Figures, American Society of Addiction Medicine,
Available at: https://www.asam.org/docs/default-source/advocacy/opioid-addiction-
disease-facts-figures.pdf.
9 http://www.in.gov/recovery/1054.htm
10 Governor’s Task Force on Drug Enforcement Treatment & Prevention, p. 6. Fall 2016.

Available at: http://www.in.gov/recovery/files/2016finalreportrevised.pdf
11 Eigner, Gregory, et al. “Who is Overdosing? An Updated Picture of Overdose Deaths

from 2008 to 2015.” Health Services Research and Managerial Epidemiology. Vol. 4: 1-6. 2017.
Available     at:   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5593207/pdf/10.
1177_2333392817727424.pdf
12 http://www.in.gov/recovery/1054.htm



                                               4
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 5 of 76. PageID #: 5




       19.    In 2016, there were more than 700 drug poisoning incidents in Allen

County. In 2017, there were at least 1,200 drug poisoning incidents in Allen County. The

majority of all drug poisonings in Allen County involve opioids.

       20.    In addition, Allen County is experiencing drastic increases in Neonatal

Abstinence Syndrome, Opioid Addiction Workplace Issues, HIV and Hepatitis, Opioid

Related Incarcerations, and Opioid Related Child Welfare cases.

       21.    The dramatic increase in prescription opioid use over the last two decades,

and the resultant public-health crisis, is no accident.

       22.    The crisis was precipitated by Defendants who, through nefarious and

deceptive means and using one of the biggest pharmaceutical marketing campaigns in

history, carefully engineered and continue to support a dramatic shift in the culture of

prescribing opioids by falsely portraying both the risks of addiction and abuse and the

safety and benefits of long-term use.

       23.    Defendants’ goal was simple: to dramatically increase sales by convincing

doctors that it was safe and efficacious to prescribe opioids to treat not only the kind of

severe and short-term pain associated with surgery or cancer, but also for a seemingly

unlimited array of less severe, longer-term pain, such as back pain and arthritis to name

but two examples.
       24.    Defendants knew, however, that their opioid products were addictive,

subject to abuse, and not safe or efficacious for long-term use.

       25.    Defendants’ nefarious plan worked and they dramatically increased their

sales and reaped billions upon billions of dollars of profit at the expense of millions of

people who are now addicted and the thousands who have died as a result. In 2012 alone,

opioids generated $8 billion in revenue for drug companies. Of that amount, $3.1 billion




                                              5
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 6 of 76. PageID #: 6




went to Purdue for its OxyContin sales. By 2015, sales of opioids grew further to

approximately $9.6 billion.13

       26.    The National Institutes of Health (“NIH”) identifies Defendants’

“aggressive marketing” as a major cause of the opioid epidemic in this country: “Several

factors are likely to have contributed to the severity of the current prescription drug abuse

problem. They include drastic increases in the number of prescriptions written and

dispensed, greater social acceptability for using medications for different purposes, and

aggressive marketing by pharmaceutical companies.”14 As shown below, the “drastic increases

in the number of prescriptions written and dispensed” and the “greater social

acceptability for using medications for different purposes“ are not really independent

causative factors but are, in fact, the direct result of “the aggressive marketing by

pharmaceutical companies.”

       27.    Not coincidentally, the overdose death rate, substance use disorder

treatment admissions and the devastating burden on state and local government and the

services they provide increased in parallel with Defendants’ aggressive false marketing

campaign and the resultant dramatic increase in sales of opioids. Indeed, sales of

prescription opioids quadrupled between 1999 and 2010, the overdose death rate also

quadrupled since 1999 and the substance use disorder treatment admission increased six-
fold between 1999 and 2009.15



13 D. Crow, Drugmakers hooked on $10bn opioid habit, Financial Times (August 10, 2016). In

2015, the Sackler family, the Purdue company’s sole owners, appeared at number sixteen
on Forbes magazines’s list of America’s richest families. Available at
https://www.firstthings.com/article/2017/03/american-carnage (as viewed September
27, 2017).
14 America’s Addiction to Opioids: Heroin and Prescription Drug Abuse. Available at

http://www.drugabuse.gov/about-nida/legislative-activities/testimony-to-
congress/2015/americas-addiction-to-opioids-heroin-prescription-drug-abuse#_ftn2
(accessed August 18, 2017) (emphasis added).
15 American Society of Addition Medicine, Opioid Addiction 2016 Facts & Figures.




                                             6
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 7 of 76. PageID #: 7




       28.    The crisis Defendants caused has directly impacted Allen County as it bears

the financial brunt of this epidemic as it unfolds in the County.

       29.    Apart from (and because of) the toll on human life, the crisis has financially

strained the services Allen County provides its residents and employees. Human

services, social services, court services, law enforcement services, the office of the

coroner/medical examiner and health services, including hospital, emergency and

ambulatory services, have all been severely impacted by the crisis. For example, as a

direct and foreseeable consequence of Defendants’ egregious conduct, the County paid,

and continues to pay, a significant amount for health care costs that stem from

prescription opioid dependency. These costs include unnecessary and excessive opioid

prescriptions, substance abuse treatment services, ambulatory services, emergency

department services, and inpatient hospital services, among others. Defendants’ conduct

also caused the County to incur substantial economic, administrative and social costs

relating to opioid addiction and abuse, including criminal justice costs, victimization

costs, child protective services costs, lost productivity costs, and education and

prevention program costs among others.

       30.    Allen County courts are at maximum capacity as a direct result of the opioid

crisis. The County is short on sober living space and is therefore housing more and more
transitional residents in the jail at a rate of $55 per day. Indeed, the Indiana Supreme

Court Chief Justice has concluded that the epidemic is “crippling [County] communities

and flooding [County] courts.”16

       31.    Even now, having created a public health crisis, Defendants have not pulled

their opioid products from the market, acknowledged the very real dangers of addiction


16 Report on the Toll Opioid Use in Indiana and Marion County, at p. 44-45. Richard M.

Fairbanks  School    of  Public    Health.   September     2016. Available  at:
https://www.inphilanthropy.org/sites/default/files/Richard%20M.%20Fairbanks%20
Opioid%20Report%20September%202016.pdf


                                             7
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 8 of 76. PageID #: 8




and abuse, even if the opioids are taken as prescribed, or acknowledged that opioids are

inappropriate for long-term pain management. Instead, Defendants have taken the

position that their opioid products are not dangerous and continue to sell these

dangerous and addictive drugs, thereby continuing to fuel the crisis.

       32.    By its Complaint, Allen County seeks to recover from Defendants its

damages as a result of the opioid public-health crisis Defendants caused.

                                JURISDICTION AND VENUE

       33.    This Court has personal jurisdiction over Defendants because they carry on

a continuous and systematic part of their general business within Indiana, have

transacted substantial business with Indiana entities and residents, and have caused

harm in Indiana as a result of the specific business activities complained of herein.

       34.    Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events and omissions giving rise to the claim occurred in the

Northern District of Indiana.

       35.    Jurisdiction is proper in the Northern District of Indiana pursuant to 28

U.S.C. § 1332.

                                         PARTIES

       36.    Plaintiff Allen County is organized and existing under the laws of the state
of Indiana. Allen County is located in Northeast Indiana. Plaintiff provides a wide range

of services on behalf of its residents, including services for families and children, public

health, public assistance, law enforcement, and emergency care.

       37.    Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized

under the laws of Delaware with its principal place of business in Stamford, Connecticut.

       38.    Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its

principal place of business in Stamford, Connecticut.

       39.    Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York
corporation with its principal place of business in Stamford, Connecticut.


                                             8
       Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 9 of 76. PageID #: 9




       40.     PPL, PPI, and PFC (collectively, “Purdue”) are engaged in the manufacture,

promotion, distribution, and sale of opioids nationally, in the State of Indiana and in

Allen County, including the following:

                                   Table 1. Purdue Opioids


 Drug Name          Chemical Name                                       Schedule17

 OxyContin          Oxycodone hydrochloride extended release            Schedule II

 MS Contin          Morphine sulfate extended release                   Schedule II

 Dilaudid           Hydromorphone hydrochloride                         Schedule II

 Dilaudid-HP        Hydromorphone hydrochloride                         Schedule II

 Butrans            Byprenorpine                                        Schedule III

 Hysingla ER        Hydrocodone bitrate                                 Schedule II

 Targiniq ER        Oxycodone hydrochloride and naloxone                Schedule II

                    hydrochloride

       41.     OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national

annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-

fold from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire

market for analgesic drugs (i.e., painkillers). Sales of OxyContin went from a mere $49
million in its first full year on the market to $1.6 billion in 2002.



17 Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been

regulated as controlled substances. As controlled substances, they are categorized in five
schedules, ranked in order of their potential for abuse, with Schedule I being the most
dangerous. The CSA imposes a hierarchy of restrictions on prescribing and dispensing
drugs based on their medicinal value, likelihood of addiction or abuse, and safety.
Opioids generally had been categorized as Schedule II or Schedule III drugs. Schedule II
drugs have a high potential for abuse, have a currently accepted medical use, and may
lead to severe psychological or physical dependence. Schedule III drugs are deemed to
have a lower potential for abuse, but their abuse still may lead to moderate or low
physical dependence or high psychological dependence.


                                               9
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 10 of 76. PageID #: 10




       42.      In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million – at the time, one of the

largest settlements with a drug company for marketing misconduct. None of this stopped

Purdue. Indeed, Purdue continued to create the false perception that opioids were safe

and effective for long term use, even after being caught, by using unbranded marketing

methods to circumvent the system. In short, Purdue paid the fine when caught and then

continued business as usual, marketing and selling billions of dollars of opioids each year

as if they were safe and efficacious for long term use.

       43.      Instead of learning from Purdue’s misdeeds, the other named manufacturer

Defendants, Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Johnson & Johnson,

Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen      Pharmaceuticals,   Inc.,   Janssen    Pharmaceutica,    Inc.   n/k/a    Janssen

Pharmaceuticals, Inc., Endo Health Solutions Inc., and Endo Pharmaceuticals, Inc, instead

emulated Purdue’s false marketing strategy and in turn marketed and sold billions of

dollars of prescription opioids as safe and efficacious for long term use, knowing full well

that they were not.

       44.      Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Whales, Pennsylvania. Teva USA
is a wholly owned subsidiary of Teva Pharmaceutical Industries, Ltd. (“Teva Ltd.”), an

Israeli corporation (collectively “Teva”).

       45.      Defendant Cephalon, Inc. is a Delaware corporation with its principal place

of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       46.      Teva USA and Cephalon, Inc. (collectively, “Cephalon”) work together to

manufacture, promote, distribute and sell both brand name and generic versions of the

opioids nationally and in the County, including the following:




                                              10
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 11 of 76. PageID #: 11




                                Table 2. Cephalon Opioids


 Drug Name                      Chemical Name                 Schedule

 Actiq                          Fentanyl citrate              Schedule II

 Fentora                        Fentanyl citrate              Schedule II

         47.   Teva USA was in the business of selling generic opioids, including a generic

form of OxyContin from 2005 to 2009 nationally and in the County.

         48.   Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

         49.   Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey,

and is a wholly owned subsidiary of J&J.

         50.   Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-

Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen

Pharmaceutica, Inc.

         51.   Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now

known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal

place of business in Titusville, New Jersey.
         52.   Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of

business in Titusville, New Jersey.

         53.   J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals stock. Upon information and belief, J&J controls the sale and

development of Janssen Pharmaceuticals drugs and Janssen Pharmaceuticals profits

inure to J&J’s benefit.




                                               11
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 12 of 76. PageID #: 12




      54.      J&J,    Janssen   Pharmaceuticals,   OMP,     and   Janssen   Pharmaceutica

(collectively, “Janssen”) are or have been engaged in the manufacture, promotion,

distribution, and sale of opioids nationally and in the County, including the following:

                                  Table 3. Janssen Opioids


 Drug Name                  Chemical Name                     Schedule

 Duragesic                  Fentanyl                          Schedule II

 Nucynta18                  Tapentadol extended release       Schedule II

 Nucynta ER                 Tapentadol                        Schedule II

         55.   Together, Nucynta and Nucynta ER accounted for $172 million in sales in

 2014. Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

         56.   Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation

 with its principal place of business in Malvern, Pennsylvania.

         57.   Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly owned

 subsidiary of EHS and is a Delaware corporation with its principal place of business in

 Malvern, Pennsylvania.

         58.   EHS and EPU (collectively, “Endo”) manufacture, promote, distribute and

 sell opioids nationally and in the County, including the following:
                                    Table 4. Endo Opioids


 Drug Name            Chemical Name                                 Schedule

 Opana ER             Oxymorphone hydrochloride extended            Schedule II

                      release

 Opana                Oxymorphone hydrochloride                     Schedule II

 Percodan             Oxymorphone hydrochloride and aspirin         Schedule II



18 Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.




                                             12
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 13 of 76. PageID #: 13




 Percocet          Oxymorphone hydrochloride and                  Schedule II

                   acetaminophen

       59.    Opioids made up roughly $403 million of Endo’s overall revenues of $3

billion in 2012. Opana ER yielded revenue of $1.15 billion from 2010 to 2013, and it

accounted for 10% of Endo’s total revenue in 2012. Endo also manufactures and sells

generic opioids, both directly and through its subsidiary, Qualitest Pharmaceuticals, Inc.,

including generic oxycodone, oxymorphone, hydromorphone, and hydrocodone

products.

       60.    The Food and Drug Administration requested that Endo remove Opana ER

from the market in June 2017. The FDA relied on postmarketing data in reaching its

conclusion based on the concern that the benefits of the drug may no longer outweigh its

risk of abuse.19

       61.    Perry Fine, M.D., is an individual residing in Utah. Dr. Fine was

instrumental in promoting opioids for sale and distribution nationally, in the State of

Indiana, and in Allen County.

       62.    Scott Fishman, M.D., is an individual residing in California. Dr. Fishman

was instrumental in promoting opioids for sale and distribution nationally, in the State

of Indiana, and in Allen County.

       63.    Lynn Webster, M.D., is an individual residing in Utah. Dr. Webster was

instrumental in promoting opioids for sale and distribution nationally, in the State of

Indiana, and in Allen County.




19 FDA requests removal of OPANA ER for risks related to abuse. Available at:
https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm562401.htm
(accessed August 17, 2017).


                                            13
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 14 of 76. PageID #: 14




                       FACTS RELEVANT TO ALL CAUSES OF ACTION

   A. The Pain-Relieving and Addictive Properties of Opioids

       64.    “Opiates” are alkaloids derived from the opium poppy, including opium,

heroin, morphine, and codeine. “Opioids” are synthetic or partly-synthetic drugs that are

manufactured to work in a similar way to opiates. Opioids act like opiates when taken

for pain because they have similar molecules. The products manufactured by Defendants

are opioids. The term “opioids” is now commonly used for both natural and synthetic

versions, and that term is used herein to refer to both.

       65.    The pain-relieving properties of opioids have been recognized for

millennia. So has the magnitude of their potential for abuse and addiction. Opioids are

related to illegal drugs like opium and heroin.

       66.    During the Civil War, opioids, then known as “tinctures of laudanum,”

gained popularity among doctors and pharmacists for their ability to reduce anxiety and

relieve pain – particularly on the battlefield – and they were popularly used in a wide

variety of commercial products ranging from pain elixirs to cough suppressants to

beverages. By 1900, an estimated 300,000 people were addicted to opioids in the United

States,20 and many doctors prescribed opioids solely to avoid patients’ withdrawal. Both

the numbers of opioid addicts and the difficulty in weaning patients from opioids made
clear their highly addictive nature.

       67.    Due to concerns about their addictive properties, opioids have been

regulated at the federal level as controlled substances by the U.S. Drug Enforcement

Administration (“DEA”) since 1970. The labels for scheduled opioid drugs carry black

box warnings of potential addiction and “[s]erious, life-threatening, or fatal respiratory

depression,” as the result of an excessive dose.

20 Substance Abuse and Mental Health Services Administration, Medication-Assisted

Treatment for Opioid Addiction in Opioid Treatment Programs, Treatment Improvement
Protocol (TIP Services), No. 43 (2005).


                                            14
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 15 of 76. PageID #: 15




       68.    Studies and articles from the 1970s and 1980s also observed negative

outcomes from long-term opioid therapy in pain management programs; opioids’ mixed

record in reducing pain long-term and failure to improve patients’ function; greater pain

complaints as most patients developed tolerance to opioids; opioid patients’ diminished

ability to perform basic tasks; their inability to make use of complementary treatments

like physical therapy due to the side effects of opioids; and addiction. Leading authorities

discouraged, or even prohibited, the use of opioid therapy for chronic pain.

       69.    In 1986, Dr. Russell Portenoy, who later became Chairman of the

Department of Pain Medicine and Palliative Care at Beth Israel Medical Center in New

York while at the same time serving as a top spokesperson for drug companies, published

an article reporting that “[f]ew substantial gains in employment or social function could

be attributed to the institution of opioid therapy.”21

       70.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding

the dangers of long-term use of opioids:

       The traditional approach to chronic non-malignant pain does not accept the long-
       term administration of opioid drugs. This perspective has been justified by the
       perceived likelihood of tolerance, which would attenuate any beneficial
       effects over time, and the potential for side effects, worsening disability,
       and addiction. According to conventional thinking, the initial response to
       an opioid drug may appear favorable, with partial analgesia and salutary
       mood changes, but adverse effects inevitably occur thereafter. It is assumed
       that the motivation to improve function will cease as mental clouding
       occurs and the belief takes hold that the drug can, by itself, return the
       patient to a normal life. Serious management problems are anticipated, including
       difficulty in discontinuing a problematic therapy and the development of drug
       seeking behavior induced by the desire to maintain analgesic effects, avoid
       withdrawal, and perpetuate reinforcing psychic effects. There is an implicit




21 R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of

38 cases, 25(2) Pain 171 (1986).



                                             15
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 16 of 76. PageID #: 16




       assumption that little separates these outcomes from the highly aberrant behaviors
       associated with addiction.22

According to Dr. Portenoy, the foregoing problems could constitute “compelling reasons

to reject long-term opioid administration as a therapeutic strategy in all but the most

desperate cases of chronic nonmalignant pain.”23

       71.    For all the reasons outlined by Dr. Portenoy, and in the words of one

researcher from the University of Washington in 2012, and quoted by a Harvard

researcher the same year, “it did not enter [doctors’] minds that there could be a

significant number of chronic pain patients who were successfully managed with

opioids, because if there were any, we almost never saw them.”24

       72.    Discontinuing opioids after more than just a few weeks of therapy will

cause most patients to experience withdrawal symptoms. These withdrawal symptoms

include: severe anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors,

hallucinations, delirium, pain, and other serious symptoms, which may persist for

months after a complete withdrawal from opioids, depending on how long the opioids

were used.

       73.    When under the continuous influence of opioids over time, patients grow

tolerant to their analgesic effects. As tolerance increases, a patient typically requires

progressively higher doses in order to obtain the same levels of pain reduction to which

he has become accustomed – up to and including doses that are “frighteningly high.”25

At higher doses, the effects of withdrawal are more substantial, thus leaving a patient at


22 R. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in

Pain Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis added).
23 Id.
24 J. Loeser. Five crises in pain management, Pain Clinical Updates. 2012;20 (1):1–4(cited

by I. Kissin, Long-term opioid treatment of chronic nonmalignant pain: unproven efficacy and
neglected safety?, 6 J. Pain Research 513, 514 (2013)).
25 M. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A Believer Loses His Faith,

170(16) Archives of Internal Med. 1422 (2010).


                                              16
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 17 of 76. PageID #: 17




a much higher risk of addiction. A patient can take opioids at the continuously escalating

dosages to match pain tolerance and still overdose at recommended levels.

      74.    The effects of opioids vary by duration. Long-acting opioids, such as

Purdue’s OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana

ER, and Actavis’s Kadian, are designed to be taken once or twice daily and are purported

to provide continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such

as Cephalon’s Actiq and Fentora, are designed to be taken in addition to long-acting

opioids to address “episodic pain” and provide fast-acting, supplemental opioid therapy

lasting approximately 4 to 6 hours.

      75.    Defendants promoted the idea that pain should be treated by taking long-

acting opioids continuously and supplementing them by also taking short-acting, rapid-

onset opioids for episodic pain.

      76.    In 2013, in response to a petition to require manufacturers to strengthen

warnings on the labels of long-acting opioid products, the FDA warned of the “grave

risks” of opioids, including “addiction, overdose, and even death.” The FDA further

warned, “[e]ven proper use of opioids under medical supervision can result in life-

threatening respiratory depression, coma, and death.” Because of those grave risks, the

FDA said that long-acting or extended release opioids “should be used only when
alternative treatments are inadequate.”26 The FDA required that – going forward – opioid

makers of long-acting formulations clearly communicate these risks in their labels.

      77.    In 2016, the FDA expanded its warnings for immediate-release opioid pain

medications, requiring similar changes to the labeling of immediate-release opioid pain

medications as it had for extended release opioids in 2013. The FDA also required several



26Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew
Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-
2012-P-0818 (Sept. 10, 2013) (emphasis in original).



                                           17
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 18 of 76. PageID #: 18




additional safety-labeling changes across all prescription opioid products to include

additional information on the risk of these medications.27

       78.     The facts on which the FDA relied in 2013 and 2016 were well known to

Defendants in the 1990s when their deceptive marketing began.

       B.      Opioid Therapy Makes Patients Sicker Without Long Term Benefits

       79.     There is no scientific evidence supporting the safety or efficacy of opioids

for long-term use. Defendants are well aware of the lack of such scientific evidence. While

promoting opioids to treat chronic pain, Defendants failed to disclose the lack of evidence

to support their use long-term and have failed to disclose the substantial scientific

evidence that chronic opioid therapy actually makes patients sicker.

       80.     There are no controlled studies of the use of opioids beyond 16 weeks, and

no evidence that opioids improve patients’ pain and function long-term. For example, a

2007 systematic review of opioids for back pain concluded that opioids have limited, if

any, efficacy for back pain and that evidence did not allow judgments regarding long-

term use.

       81.     Substantial evidence exists that opioid drugs are ineffective to treat chronic

pain, and actually worsen patients’ health. For example, a 2006 study-of-studies found

that opioids as a class did not demonstrate improvement in functional outcomes over
other non-addicting treatments.28


27 FDA announces enhanced warnings for immediate-release opioid pain medications

related to risks of misuse, abuse, addiction, overdose and death. Available at
http://www.fda.gov/newsevents/newsroom/pressannouncements/ucm491739.htm
(accessed August 18, 2017).
28 A. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side

effects, 174(11) Can. Med. Ass’n J. 1589 (2006). This same study revealed that efficacy
studies do not typically include data on opioid addiction. In many cases, patients who
may be more prone to addiction are pre-screened out of the study pool. This does not
reflect how doctors actually prescribe the drugs, because even patients who have past or
active substance use disorders tend to receive higher doses of opioids. K. Seal, Association



                                               18
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 19 of 76. PageID #: 19




       82.    Increasing duration of opioid use is strongly associated with an increasing

prevalence of mental health conditions (including depression, anxiety, post-traumatic

stress disorder, or substance abuse), increased psychological distress, and greater health

care utilization.

       83.    While opioids may work acceptably well for a while, when they are used

on a long-term basis, function generally declines, as does general health, mental health,

and social function. Over time, even high doses of potent opioids often fail to control

pain, and patients exposed to such doses are unable to function normally.29

       84.    The foregoing is true both generally and for specific pain-related

conditions. Studies of the use of opioids long-term for chronic lower back pain have been

unable to demonstrate an improvement in patients’ function. Instead, research

consistently shows that long-term opioid therapy for patients who have lower back

injuries does not cause patients to return to work or physical activity. This is due partly

to addiction and other side effects.

       85.    For example, as many as 30% of patients who suffer from migraines have

been prescribed opioids to treat their headaches. Users of opioids had the highest increase

in the number of headache days per month, scored significantly higher on the Migraine

Disability Assessment, and had higher rates of depression, compared to non-opioid
users. A survey by the National Headache Foundation found that migraine patients who

used opioids were more likely to experience sleepiness, confusion, rebound headaches,

and reported a lower quality of life than patients taking other medications.

   C. Defendants’ Scheme to Change Prescriber Habits and Public Perception

       86.    For the reasons just alleged, the commonly held views amongst doctors was

that opioids should only be used short-term and often when the patient is in the hospital


of Mental Health Disorders With Prescription Opioids and High- Risk Opioids in US Veterans of
Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940 (2012).
29See A. Rubenstein, Are we making pain patients worse? Sonoma Medicine (Fall 2009).




                                             19
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 20 of 76. PageID #: 20




– for instance, for acute pain, pain relating to recovery from surgery, or for cancer or

palliative care – as the risks of addiction are low or of little significance.

       87.    The market for short-term pain relief is significantly more limited than the

market for long-term chronic pain relief. Defendants recognized that if they could sell

opioids not just for short term pain relief but also for long-term chronic pain relief, they

could achieve blockbuster levels of sales and profits. Further, they recognized that if they

could cause their customers to become physically addicted to their drugs, they would

increase the likelihood that their blockbuster profits would continue indefinitely.

       88.    Defendants knew that in order to increase their profits from the sale of

opioids they would need to convince doctors and patients that long-term opioid therapy

was safe and effective. Defendants needed, in other words, to persuade physicians to

abandon their long-held apprehensions about prescribing opioids, and instead to

prescribe opioids for durations previously understood to be unsafe.

       89.    So Defendants designed a false and deceptive marketing strategy aimed at

clinicians whom they desired to prescribe opioids in a way they had never been used

before.

       90.    Defendants did not set out to change the medical community’s view,

however, through legitimate scientific research, because scientific research would not
have supported the conclusion Defendants desired (that prescription opioids could be

used to treat chronic conditions long-term). Rather, to accomplish their goal of

blockbuster profits and dramatically increased sales, Defendants turned to the marketing

and PR world to instead create a misperception in the medical community.

       91.    Marshalling help from consultants and public relations firms, Defendants

developed and executed a common strategy to reverse the long-settled understanding of

the relative risks and benefits of chronic opioid therapy.




                                               20
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 21 of 76. PageID #: 21




       92.    Rather than add to the collective body of medical knowledge concerning

the best ways to treat pain and improve patient quality of life, Defendants sought to

distort medical and public perception of existing scientific data.

       93.    As explained more fully herein and illustrated in Exhibit A, Defendants,

collectively and individually, poured vast sums of money into generating articles,

creating continuing medical education courses (“CMEs”), and other “educational”

materials, conducting sales visits to individual doctors, and supporting a network of

professional societies and advocacy groups, which was intended to, and which did, create

a new but phony “consensus” supporting the long-term use of opioids.

       94.    Not only did Defendants begin to create a phony consensus on the safety

and efficacy of using prescription opioids to treat chronic pain, but they also created a

new narrative, that doctors were not being responsible to their patients in treating pain if

they did not use these new wonder drugs for treating pain.

   D. Defendants Used “Unbranded” Marketing to Evade Regulations and Consumer
      Protection Laws

       95.    Drug companies’ promotional activity can be branded or unbranded.

Unbranded marketing refers not to a specific drug, but more generally to a disease state

or treatment. By using unbranded communications, drug companies can evade the

extensive regulatory framework governing branded communications.

       96.    A drug company’s branded marketing, which identifies and promotes a

specific drug, must: (a) be consistent with its label and supported by substantial scientific

evidence; (b) not include false or misleading statements or material omissions; and (c)

fairly balance the drug’s benefits and risks. The regulatory framework governing the

marketing of specific drugs reflects a public policy designed to ensure that drug

companies, which are best suited to understand the properties and effects of their drugs,

are responsible for providing prescribers with the information they need to assess
accurately the risks and benefits of drugs for their patients.


                                             21
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 22 of 76. PageID #: 22




       97.    Further, the Federal Food, Drug, and Cosmetic Act (“FDCA”) places further

restrictions on branded marketing. It prohibits the sale in interstate commerce of drugs

that are “misbranded.” A drug is “misbranded” if it lacks “adequate directions for use”

or if the label is false or misleading “in any particular.” “Labeling” includes more than

the drug’s physical label; it also includes “all … other written, printed, or graphic matter

… accompanying“ the drug, including promotional material. The term “accompanying”

is interpreted broadly to include promotional materials – posters, websites, brochures,

books, and the like – disseminated by or on behalf of the manufacturer of the drug. Thus,

Defendants’ promotional materials are part of their drugs’ labels and are required to be

accurate, balanced, and not misleading.

       98.    Branded promotional materials for prescription drugs must be submitted

to the FDA when they are first used or disseminated. If, upon review, the FDA determines

that materials marketing a drug are misleading, it can issue an untitled letter or warning

letter. The FDA uses untitled letters for violations such as overstating the effectiveness of

the drug or making claims without context or balanced information. Warning letters

address promotions involving safety or health risks and indicate the FDA may take

further enforcement action.

       99.    For example, Defendant Purdue made many purposeful misstatements in
branded materials in the early 2000s about the safety and efficacy of its first opioid drug,

OxyContin in branded marketing materials. These false misrepresentations resulted in

criminal charges against Purdue and a resulting settlement of criminal and civil charges

for misbranding OxyContin and an agreement to pay the United States government $635

million – at the time, one of the largest settlements with a drug company for marketing

misconduct.

       100.   This kind of penalty, however, can only be levied over misrepresentations

in branded marketing materials, misrepresentations specific to a particular drug.




                                             22
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 23 of 76. PageID #: 23




         101.   Defendants’ scheme, however, got around federal regulation and the

federal criminal and civil law violations that Purdue had run afoul of in the early 2000s

by turning to unbranded materials, where Defendants could make the same false

statements but evade punishment by making these statements about opioids as a whole,

not about specific branded opioid drugs.

         102.   Through Defendants’ sophisticated marketing scheme outlined below,

Defendants were able to create unbranded marketing materials that appeared

scientifically based and the subject of independent medical judgment, but were actually

a front for Defendants who were manufacturing and selling these addictive and unsafe

drugs.

         103.   Defendants were able to take advantage of this seemingly legitimate

unbranded marketing information to implement a persuasive campaign targeted at

changing prescribing practices by raising physician and public awareness of purported

evidence that opioids could safely and efficaciously treat chronic or long-term pain.

         104.   In other words, Defendants disseminated false, misleading, imbalanced,

and unsupported statements through a campaign utilizing these unregulated unbranded

marketing materials – materials that generally promoted opioid use but did not name a

specific opioid while doing so. Through these unbranded materials, Defendants
presented information and instructions concerning opioids generally that were false and

misleading to sell their specific drugs without running afoul of the laws relating to

branded marketing materials.

         105.   By acting through what appeared to be independent third party

professional organizations, Defendants designed and were able to give the false

appearance that their messages reflected the views of independent specialist third parties.

         106.   Later, Defendants would cite to these sources as “independent”

corroboration of their own statements. Further, as one physician adviser to Defendants
noted, third-party documents had not only greater credibility, but also broader


                                            23
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 24 of 76. PageID #: 24




distribution, as doctors did not “push back” at having materials, for example, from the

non-profit American Pain Foundation (“APF”) on display in their offices, as they would

with drug company pieces.

       107.   As part of their deceptive marketing scheme to change the perception of

doctors, particularly general practitioners, regarding the dangers of prescribing opioids

for long term use, Defendants spread and validated their deceptive unbranded messages

through the following vehicles (“the Vehicles”): (i) so-called “key opinion leaders” (i.e.,

physicians who influence their peers’ medical practice, including but not limited to

prescribing behavior) (“KOLs”), who were paid by Defendants and who wrote favorable

journal articles and delivered supportive CMEs as if they were independent medical

professionals; (ii) a body of biased and unsupported scientific “literature” funded by

Defendants and distributed by the KOLs and Front Groups; (iii) “treatment guidelines”

distributed by the Front Groups; (iv) CMEs funded by the Defendants where KOLs and

Front Groups taught and portrayed opioids as safe and effective for treatment of chronic

pain and distributed Defendants’ false and deceptive message; and (v) unbranded patient

education materials disseminated through groups purporting to be patient-advocacy and

professional organizations (“Front Groups”), which exercised their influence both

directly and indirectly through Defendant-controlled KOLs who served in leadership
roles in these organizations.

       108.   Defendants disseminated many of their false, misleading, imbalanced and

unsupported messages through the Vehicles because they appeared to uninformed

observers to be independent and credible professional organizations. Through

unbranded materials and through the Vehicles, Defendants presented doctors and the

public with information and instructions concerning opioids generally that were false

and misleading.

       109.   Even where such unbranded messages were created by the Vehicles
themselves, Defendants adopted these messages as their own and distributed them to the


                                            24
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 25 of 76. PageID #: 25




medical community and the public by citing to, editing, approving, and distributing such

materials knowing they were false, misleading, unsubstantiated, unbalanced, and

incomplete. In addition, and as described herein, Defendants’ sales representatives

distributed third-party and unbranded marketing material to Defendants’ target

audience that was deceptive and false.

       110.   Defendants took an active role in guiding, reviewing, and approving many

of the false and misleading statements issued by the Vehicles, ensuring that Defendants

were consistently in control of their content. By funding, directing, editing, and

distributing these materials, Defendants exercised control over their false and deceptive

messages and acted in concert with the Vehicles to fraudulently promote the use of

opioids for the treatment of chronic pain.

       111.   The unbranded marketing materials that Defendants assisted in funding,

creating and distributing either did not disclose the risks of addiction, abuse, misuse, and

overdose, or affirmatively denied or minimized those risks.

       i.     Defendants’ KOLs

       112.   To create the false impression that the opioids they were selling were safe

and effective for long term use, Defendants needed medical professionals to publicly

endorse this view and aggressively promote the use of opioids to treat chronic pain.
       113.   So Defendants paid and cultivated a select circle of doctors who were

chosen and sponsored by Defendants because they favored the aggressive treatment of

chronic pain with opioids. As set forth herein and as depicted in Exhibit A, pro-opioid

doctors like Drs. Portenoy, Webster, Fine, and Fishman have been at the hub of

Defendants’ well-funded, pervasive marketing scheme since its inception and were used

to create the grave misperception science and legitimate medical professionals supported

the notion that opioids were safe and efficacious for long term use.

       114.   Although these KOLs were funded by Defendants, this funding went
undisclosed and the KOLs were used extensively to present the appearance that unbiased


                                             25
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 26 of 76. PageID #: 26




and reliable medical research supporting the broad use of opioid therapy for chronic pain

had been conducted and was being reported on by independent medical professionals.

      115.    As Defendants’ false marketing scheme picked up steam, these pro-opioid

KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

speeches and CMEs supportive of opioid therapy for chronic pain. They served on

committees that developed treatment guidelines that strongly encouraged the use of

opioids to treat chronic pain and they were placed on boards of pro-opioid advocacy

groups and professional societies that develop, select, and present CMEs.

      116.    Through use of their KOLs and strategic placement of these KOLs

throughout every critical distribution channel of information within the medical

community, Defendants were able to exert control of each of these modalities through

which doctors receive their information.

      117.    In return for their pro-opioid advocacy, Defendants’ KOLs received money,

prestige, recognition, research funding, and avenues to publish. For example, as depicted

in Exhibit A, Defendant KOL Dr. Webster has received funding from Endo, Purdue, and

Cephalon. Defendant KOL Dr. Fine has received funding from Janssen, Cephalon, Endo

and Purdue.

      118.    Defendants carefully vetted their KOLs to ensure that they were likely to
remain on-message and supportive of Defendants’ agenda. Defendants also kept close

tabs on the content of the materials published by these KOLs. And, of course, Defendants

kept these KOLs well-funded to enable them to push Defendants’ deceptive message out

to the medical community.

      119.    Once Defendants identified and funded KOLs and those KOLs began to

publish “scientific” papers supporting Defendants false position that opioids were safe

and effective for treatment of chronic pain, Defendants poured significant funds and

resources into a marketing machine that widely cited and promoted their KOLs and
studies or articles by their KOLs to drive prescription of opioids for chronic pain.


                                           26
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 27 of 76. PageID #: 27




Defendants cited to, distributed, and marketed these “studies” and “articles” by their

KOLs as if they were independent medical literature so that it would be well received by

the medical community. By contrast, Defendants did not support, acknowledge, or

disseminate the truly independent publications of doctors critical of the use of chronic

opioid therapy.

       120.   In their promotion of the use of opioids to treat chronic pain, Defendants’

KOLs knew that their statements were false and misleading, or they recklessly

disregarded the truth in doing so, but they continued to publish their misstatements to

benefit themselves and Defendants.

       ii.    Defendants’ Corruption of Scientific Literature

       121.   Rather than actually test the safety and efficacy of opioids for long-term use,

Defendants led physicians, patients, and health care payors to believe that such tests had

already been done. As set forth herein, and as depicted in Exhibit A, Defendants created

a body of false, misleading, and unsupported medical and popular literature about

opioids that (a) understated the risks and overstated the benefits of long-term use; (b)

appeared to be the result of independent, objective research; and (c) was likely to shape

the perceptions of prescribers, patients, and payors. This literature was, in fact, marketing

material intended to persuade doctors and consumers that the benefits of long-term
opioid use outweighed the risks.

       122.   To accomplish their goal, Defendants – sometimes through third-party

consultants and/or front groups – commissioned, edited, and arranged for the placement

of favorable articles in academic journals.

       123.   Defendants’ plans for these materials did not originate in the departments

within the Defendant organizations that were responsible for research, development, or

any other area that would have specialized knowledge about the drugs and their effects

on patients; rather, they originated in Defendants’ marketing departments and with
Defendants’ marketing and public relations consultants.


                                              27
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 28 of 76. PageID #: 28




       124.   In these materials, Defendants (or their surrogates) often claimed to rely on

“data on file” or presented posters, neither of which are subject to peer review. Still,

Defendants presented these materials to the medical community as scientific articles or

studies, despite the fact that Defendants’ materials were not based on reliable data and

subject to the scrutiny of others who are experts in the same field.

       125.   Defendants also made sure that favorable articles were disseminated and

cited widely in the medical literature, even when Defendants knew that the articles

distorted the significance or meaning of the underlying study.

       126.   Most infamously, Purdue frequently cited a 1980 item in the well-respected

New England Journal of Medicine, J. Porter & H. Jick, Addiction Rare in Patients Treated

with Narcotics, 302 (2) New Eng. J. Med. 123 (1980) (“Porter & Jick Letter”), in a manner

that made it appear that the item reported the results of a peer reviewed study. Endo

cited the same item in two CME programs that it sponsored. Defendants and those acting




                                            28
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 29 of 76. PageID #: 29




on their behalf failed to reveal that this “article” is actually a letter-to-the-editor, not a

study, much less a peer-reviewed study. The letter, reproduced in full below, states that

the authors examined their files of hospitalized patients who had received opioids.

       127.    The patients referred to in the letter were all treated prior to the letter, which

was published in 1980. Because of standards of care prior to 1980, the treatment of those

patients with opioids would have been limited to acute or end-of-life situations, not

chronic pain. The letter notes that, when these patients’ records were reviewed, the

authors found almost no references to signs of addiction, though there is no indication

that caregivers were instructed to look for, assess, or document signs of addiction. Nor,

indeed, is there any indication whether the patients were followed after they were

discharged from the hospital or, if they were, for how long. None of these serious

limitations was disclosed when Defendants and those acting on their behalf cited the

letter, typically as the sole scientific support for the proposition that opioids are rarely

addictive.

       128.    Dr. Jick has complained that his letter has been distorted and misused – as

indeed it has by Defendants.

       129.    Defendants worked to not only create and promote favorable studies in the

literature, but to discredit or suppress negative information. Defendants’ studies and
articles often targeted articles that contradicted Defendants’ claims or raised concerns

about chronic opioid therapy. In order to do so, Defendants – often with the help of third-

party consultants – used a broad range of media to get their message out, including

negative review articles, letters to the editor, commentaries, case-study reports, and

newsletters.

       130.    Defendants’ strategy – to plant and promote supportive literature and then

to cite the pro-opioid evidence in their promotional materials, while failing to disclose

evidence that contradicted those claims – was flatly inconsistent with their legal
obligations.


                                               29
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 30 of 76. PageID #: 30




       131.   The strategy was intended to, and did, fraudulently co-opt well-intentioned

physicians into believing opioids were safe and efficacious for long term use and distort

physician prescribing patterns by distorting the truth regarding the risks and benefits of

opioids for chronic pain relief.

       iii.   Defendants’ Misuse of Treatment Guidelines

       132.   Treatment guidelines have been particularly important in securing

acceptance for chronic opioid therapy. They are relied upon by doctors, especially the

general practitioners and family doctors targeted by Defendants, who are generally not

experts, and who generally have no special training, in the treatment of chronic pain.

Treatment guidelines not only directly inform doctors’ prescribing practices, but also are

cited throughout scientific literature and relied on by third-party payors in determining

whether they should pay for treatments for specific indications.

              a. The Federation of State Medical Boards

       133.   The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that

comprise the FSMB membership have the power to license doctors, investigate

complaints, and discipline physicians.

       134.   The FSMB finances opioid- and pain-specific programs through grants from
Defendants.

       135.   Since 1998, the FSMB has been developing treatment guidelines for the use

of opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of

Controlled Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in

collaboration with pharmaceutical companies.” The 1998 Guidelines that the

pharmaceutical companies helped author taught not that opioids could be appropriate in

only limited cases after other treatments had failed, but that opioids were “essential” for

treatment of chronic pain, including as a first prescription option.




                                            30
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 31 of 76. PageID #: 31




       136.   A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible

Opioid Prescribing, also made the same claims as the 1998 Guidelines. These guidelines

were posted online and were available to and intended to reach physicians nationwide,

including in Allen County.

       137.   The 2007 publication Responsible Opioid Prescribing was backed largely

by drug manufacturers, including Purdue, Endo and Cephalon. The publication also

received support from the American Pain Foundation and the American Academy of

Pain Medicine. The publication was written by Dr. Fishman, and Dr. Fine served on the

Board of Advisors. In all, 163,131 copies of Responsible Opioid Prescribing were

distributed by state medical boards (and through the boards, to practicing doctors). The

FSMB website describes the book as “the leading continuing medical education (CME)

activity for prescribers of opioid medications.”

       138.   Defendants relied on 1998 Guidelines to convey the alarming message that

“under-treatment of pain” would result in official discipline, but no discipline would

result if opioids were prescribed as part of an ongoing patient relationship and

prescription decisions were documented. FSMB turned doctors’ fear of discipline on its

head: doctors, who used to believe that they would be disciplined if their patients became

addicted to opioids, were taught instead that they would be punished if they failed to
prescribe opioids to their patients with chronic pain.

              b. American Academy of Pain Medicine/American Pain Society
                 Guidelines

       139.   American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial

funding from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus”

statement that endorsed opioids to treat chronic pain and claimed that the risk that




                                            31
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 32 of 76. PageID #: 32




patients would become addicted to opioids was low.30 The Chair of the committee that

issued the statement, Dr. J. David Haddox, was at the time a paid speaker for Purdue.

The sole consultant to the committee was Dr. Portenoy. The consensus statement, which

also formed the foundation of the 1998 Guidelines, was published on the AAPM’s

website.

      140.    AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”)

and continued to recommend the use of opioids to treat chronic pain. Fourteen of the 21

panel members who drafted the 2009 Guidelines, including KOL Defendant Dr. Fine,

received support from Defendants Janssen, Cephalon, Endo, and Purdue.

      141.    The 2009 Guidelines promote opioids as “safe and effective” for treating

chronic pain and conclude that the risk of addiction is manageable for patients regardless

of past abuse histories. The 2009 Guidelines have been a particularly effective channel of

deception and have influenced not only treating physicians, but also the body of scientific

evidence on opioids; they were reprinted in the Journal of Pain, have been cited hundreds

of times in academic literature, were disseminated in Allen County during the relevant

time period, and were and are available online.

      142.    Defendants widely cited and promoted the 2009 Guidelines without

disclosing the lack of evidence to support their conclusions, their involvement in the
development of the Guidelines or their financial backing of the authors of these

Guidelines.




30 The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997). Available at

http://www.stgeorgeutah.com/wp-
content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf (as viewed August 18,
2017).


                                            32
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 33 of 76. PageID #: 33




              c.   Guidelines that Did Not Receive Defendants’ Support

       143.   The extent of Defendants’ influence on treatment guidelines is

demonstrated by the fact that independent guidelines – the authors of which did not

accept drug company funding – reached very different conclusions.

       144.   The 2012 Guidelines for Responsible Opioid Prescribing in Chronic Non-

Cancer Pain, issued by the American Society of Interventional Pain Physicians (“ASIPP”),

warned that “[t]he recent revelation that the pharmaceutical industry was involved in the

development of opioid guidelines as well as the bias observed in the development of

many of these guidelines illustrate that the model guidelines are not a model for

curtailing controlled substance abuse and may, in fact, be facilitating it.” ASIPP’s

Guidelines further advise that “therapeutic opioid use, specifically in high doses over

long periods of time in chronic non-cancer pain starting with acute pain, not only lacks

scientific evidence, but is in fact associated with serious health risks including multiple

fatalities, and is based on emotional and political propaganda under the guise of

improving the treatment of chronic pain.” ASIPP recommends long-acting opioids in

high doses only “in specific circumstances with severe intractable pain” and only when

coupled with “continuous adherence monitoring, in well-selected populations, in

conjunction with or after failure of other modalities of treatments with improvements in
physical and functional status and minimal adverse effects.”31

       145.   Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by the

American College of Occupational and Environmental Medicine, recommend against the

“routine use of opioids in the management of patients with chronic pain,” finding “at




31Laxmaiah Manchikanti, et al., American Society of Interventional Pain Physicians
(ASIPP) Guidelines for Responsible Opioid Prescribing in Chronic Non-Cancer Pain: Part 1,
Evidence Assessment, 15 Pain Physician (Special Issue) S1-S66; Part 2 – Guidance, 15 Pain
Physician (Special Issue) S67-S116 (2012).



                                            33
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 34 of 76. PageID #: 34




least moderate evidence that harms and costs exceed benefits based on limited

evidence.”32

       146.    The Clinical Guidelines on Management of Opioid Therapy for Chronic

Pain, issued by the U.S. Department of Veterans Affairs (“VA”) and Department of

Defense (“DOD”) in 2010, notes that their review revealed a lack of solid evidence-based

research on the efficacy of long-term opioid therapy.33

       147.    Defendants not only disregarded or tried to discredit such statements, but

they used their well-funded and coordinated marketing campaign described herein to

drown-out any contradicting message.

       iv.     Defendants’ Misuse of CMEs

       148.    Now that Defendants had both a group of physician promoters and had

built a false body of “literature,” Defendants needed to make sure their false marketing

message was widely distributed.

       149.    One way Defendants aggressively distributed their false message was

through thousands of Continuing Medical Education courses (“CMEs”)

       150.    A CME is a professional education program provided to doctors. Doctors

are required to attend a certain number and, often, type of CME programs each year as a

condition of their licensure. These programs are delivered in person, often in connection
with professional organizations’ conferences, and online, or through written

publications. Doctors rely on CMEs not only to satisfy licensing requirements, but also to

get information on new developments in medicine or to deepen their knowledge in

specific areas of practice. Because CMEs typically are taught by KOLs who are highly

32 American College of Occupational and Environmental Medicine’s Guidelines for the Chronic

Use of Opioids (2011).
33 Management of Opioid Therapy for Chronic Pain Working Group, VA/DoD Clinical

Practice Guideline for Management of Opioid Therapy for Chronic Pain (May 2010).
https://www.mirecc.va.gov/docs/visn6/CPG_Management_Opioid_Tx_Chronic_Pai
n_May10.pdf (accessed August 18, 2017).


                                            34
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 35 of 76. PageID #: 35




respected in their fields, and are thought to reflect these physicians’ medical expertise,

they can be especially influential with doctors.

         151.   The countless doctors and other health care professionals who participate

in accredited CMEs constitute an enormously important audience for opioid reeducation.

As one target, Defendants aimed to reach general practitioners, whose broad area of

practice and lack of expertise and specialized training in pain management made them

particularly dependent upon CMEs and, as a result, especially susceptible to Defendants’

deceptions.

         152.   Defendants sponsored CMEs that were delivered thousands of times,

promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled

to relate to the treatment of chronic pain, focus on opioids to the exclusion of alternative

treatments, inflate the benefits of opioids, and frequently omit or downplay their risks

and adverse effects.

         153.   The American Medical Association (“AMA”) recognized the impropriety

that pharmaceutical company funded CMEs creates; stating that support from drug

companies with a financial interest in the content being promoted “creates conditions in

which external interests could influence the availability and/or content” of the programs
and urges that “[w]hen possible, CME[s] should be provided without such support or the

participation of individuals who have financial interests in the education subject

matter.”34

         154.   Physicians treating residents and employees of Allen County attended or

reviewed Defendants’ sponsored CMEs during the relevant time period and were misled

by them.



34 Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov.

2011).


                                            35
        Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 36 of 76. PageID #: 36




         155.   By sponsoring CME programs put on by Front Groups like APF, AAPM

and others, Defendants could expect instructors to deliver messages favorable to them,

as these organizations were dependent on Defendants for other projects. The sponsoring

organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Defendant-driven content in these CMEs had a direct

and immediate effect on prescribers’ views on opioids. Producers of CMEs and

Defendants both measure the effects of CMEs on prescribers’ views on opioids and their

absorption of specific messages, confirming the strategic marketing purpose in

supporting them.

         v.     Defendants’ Misuse of Patient Education Materials and Front Groups

         156.   Defendants false marketing campaign not only targeted the medical

community who had to treat chronic pain, but it targeted patients who experience chronic

pain.

         157.   Pharmaceutical    industry     marketing     experts    see   patient-focused

advertising, including direct-to-consumer marketing, as particularly valuable in

“increas[ing] market share . . . by bringing awareness to a particular disease that the drug

treats.”35 Physicians are more likely to prescribe a drug if a patient specifically requests

it, and physicians’ willingness to acquiesce to such patient requests holds true even for
opioids and for conditions for which they are not approved.36 Recognizing this

phenomenon, Defendants put their relationships with Front Groups to work to engage

in largely unbranded patient education about opioid treatment for chronic pain.


35 Kanika  Johar, An Insider’s Perspective: Defense of the Pharmaceutical Industry’s
Marketing Practices, 76 Albany L. Rev. 299, 308 (2013).
36 In one study, for example, nearly 20% of sciatica patients requesting oxycodone

received a prescription for it, compared with 1% of those making no specific request. J.B.
McKinlay et al., Effects of Patient Medication Requests on Physician Prescribing Behavior, 52(2)
Med. Care 294 (2014).



                                              36
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 37 of 76. PageID #: 37




       158.   Defendants entered into arrangements with numerous Front Groups (i.e.,

groups purporting to be patient-advocacy and professional organizations) to promote

opioids. These organizations depend upon Defendants for significant funding and, in

some cases, for their survival. They were involved not only in generating materials and

programs for doctors and patients that supported chronic opioid therapy, but also in

assisting Defendants’ marketing in other ways—for example, responding to negative

articles and advocating against regulatory changes that would constrain opioid

prescribing. They developed and disseminated pro-opioid treatment guidelines;

conducted outreach to groups targeted by Defendants, such as veterans and the elderly;

and developed and sponsored CMEs that focused exclusively on use of opioids to treat

chronic pain. Defendants funded these Front Groups in order to ensure supportive

messages from these seemingly neutral and credible third parties, and their funding did,

in fact, ensure such supportive messages.

              a. American Pain Foundation

       159.   The most prominent of Defendants’ Front Groups was the American Pain

Foundation (“APF”), which received more than $10 million in funding from opioid

manufacturers from 2007 until it closed its doors in May 2012. Purdue provided $1.7

million in funding during a time when sales of its OxyContin were skyrocketing.
       160.   APF issued purported “education guides” for patients, the news media,

and policymakers that touted the benefits of opioids for chronic pain and trivialized their

risks, particularly the risk of addiction. APF also engaged in a significant multimedia

campaign – through radio, television and the internet – to “educate” patients about their

“right” to pain treatment with opioids. All of the programs and materials were intended

to, and did, reach a national audience, including the County’s residents.

       161.   By 2011, APF was entirely dependent on incoming grants from defendants

Purdue, Cephalon, Endo, and others to avoid using its line of credit. APF board member,




                                            37
       Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 38 of 76. PageID #: 38




Dr. Portenoy, explained the lack of funding diversity was one of the biggest problems at

APF.

        162.   APF held itself out as an independent patient advocacy organization, yet

engaged in grassroots lobbying against various legislative initiatives that might limit

opioid prescribing. In reality, APF functioned largely as an advocate for the interests of

Defendants, not patients.

        163.   In practice, APF operated in close collaboration with Defendants. APF

submitted grant proposals seeking to fund activities and publications suggested by

Defendants. APF also assisted in marketing projects for Defendants.

        164.   The close relationship between APF and Defendants demonstrates APF’s

clear lack of independence, in its finances, management, and mission, and its willingness

to allow Defendants to control its activities and messages supports an inference that each

Defendant that worked with it was able to exercise editorial control over its publications.

        165.   In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the

manufacturers of opioid painkillers. Within days of being targeted by the Senate

investigation, APF’s board voted to dissolve the organization “due to irreparable

economic circumstances.” APF then “cease[d] to exist, effective immediately.”37
               b. The American Academy of Pain Medicine

        166.   The American Academy of Pain Medicine (“AAPM”), with the assistance,

prompting, involvement, and funding of Defendants, issued the treatment guidelines

discussed herein, and sponsored and hosted CMEs essential to Defendants’ deceptive

marketing scheme.

        167.   AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid

37 American Pain Foundation Website. Available at http://www.painfoundation.org

(accessed August 17, 2017).


                                            38
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 39 of 76. PageID #: 39




$25,000 per year (on top of other funding) to participate. The benefits included allowing

members to present educational programs at off-site dinner symposia in connection with

AAPM’s marquee event – its annual meeting held in Palm Springs, California, or other

resort locations. AAPM describes the annual event as an “exclusive venue” for offering

CMEs to doctors. Membership in the corporate relations council also allows drug

company executives and marketing staff to meet with AAPM executive committee

members in small settings. Defendants Endo, Purdue, and Cephalon were members of

the council and presented deceptive programs to doctors who attended this annual event.

       168.     The conferences sponsored by AAPM heavily emphasized CME sessions

on opioids – 37 out of roughly 40 at one conference alone. AAPM’s presidents have

included top industry-supported KOLs and Defendants Dr. Fine and Dr. Webster. Dr.

Webster was elected president of AAPM while under a DEA investigation. Another past

AAPM president, Defendant Dr. Scott Fishman, stated that he would place the

organization “at the forefront” of teaching that “the risks of addiction are … small and

can be managed.”38

       169.     AAPM’s staff understood that they and their industry funders were

engaged in a common task. Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the
organization.

       170.     Like the KOLs, these Front Groups began to publish literature designed to

give the medical community the false impression that prescribing opioids for long term

use had been studied and found to be safe and efficacious when nothing of the kind had

occurred.



38 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain

Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005),
http://www.medscape.org/viewarticle/500829 (accessed August 18, 2017).


                                             39
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 40 of 76. PageID #: 40




       171.     The literature published by these Front Groups of course failed to disclose

the groups’ ties to the Defendants and the pharmaceutical industry.

       vi.      Defendants’ Misuse of Sales Representatives and Physician Relationships

       172.     Defendants’ sales representatives executed carefully crafted marketing

tactics, developed by the highest rungs of their corporate leaders, on how to secure

audiences with physicians to pitch opioids and how to make sure physicians and their

patients reviewed unbranded marketing materials and considered concepts developed

in those materials. Defendants’ sales representatives also distributed third-party

marketing material to Defendants’ target audience that was deceptive.

       173.     While Defendants worked in concert to expand the market for opioids, they

also worked to maximize their individual shares of that market. Each Defendant

promoted opioids for chronic pain through sales representatives (which Defendants

called “detailers” to deemphasize their primary sales role) and small group speaker

programs to reach out to individual prescribers nationwide and in Allen County. By

establishing close relationships with doctors, Defendants were able to disseminate their

misrepresentations in targeted, one-on-one settings that allowed them to differentiate

their opioids and to allay individual prescribers’ concerns about prescribing opioids for

chronic pain.
       174.     Defendants developed sophisticated methods for selecting doctors for sales

visits based on the doctors’ prescribing habits. In accordance with common industry

practice, Defendants purchase and closely analyze prescription sales data from IMS

Health, a healthcare data collection, management and analytics corporation. This data

allows them to track precisely the rates of initial and renewal prescribing by individual

doctors, which allows them to target and tailor their appeals. Sales representatives visited

hundreds of thousands of doctors and disseminated the misinformation and materials

described above throughout the United States and Indiana, including doctors in Allen
County.


                                               40
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 41 of 76. PageID #: 41




       175.   Defendants devoted massive resources to these direct sales contacts with

prescribers. For example, in 2014, the industry collectively spent $168 million on detailing

opioids to physicians nationwide. Collectively, Defendants have spent hundreds of

millions of dollars promoting their opioids through their respective sales forces because

they understand that detailers’ sales pitches are effective. Numerous studies indicate that

marketing can and does impact doctors’ prescribing habits, and face-to-face detailing has

the highest influence on intent to prescribe. The Defendants could see this phenomenon

at work not only in the aggregate, as their sales climbed with their promotional spending,

but also at the level of individual prescribers, whom they targeted for detailing and who

responded by prescribing more of the Defendants’ drugs.

       176.   Defendants directed the dissemination of the misstatements described

herein to Indiana patients and prescribers through the Front Groups, KOLS, and

publications described above, as well as through each of their substantial sales forces and

through advertisements in prominent medical journals. The deceptive statements

distributed through each of these channels reflect a common theme of misrepresenting

the safety and efficacy of opioids for long term use and was again used to shift the

prescribing medical community’s mindset regarding opioids for chronic pain conditions.

   E. Defendants Acted in Concert with KOLs and Front Groups in the Creation,
      Promotion, and Control of Unbranded Marketing.

       177.   Like cigarette makers, which engaged in an industry-wide effort to

misrepresent the safety and risks of smoking, Defendants worked with each other and

with the Front Groups and KOLs they funded and directed to carry out a common

scheme to deceptively market opioids by misrepresenting the risks, benefits, and

superiority of opioids to treat chronic pain.

       178.   Despite the devastation that opioids have now wreaked on communities

across the United States and in Indiana, however, Defendants have never retracted any




                                                41
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 42 of 76. PageID #: 42




of their false statements and misrepresentations and are still today selling opioids in

enormous quantities as safe to treat chronic pain conditions and for long term use.

       179.     Defendants acted through and with the same network of Front Groups,

funded the same KOLs, and often used the very same language and format to disseminate

the same deceptive messages regarding the appropriate use of opioids to treat chronic

pain. Although participants knew this information was false and misleading, these

misstatements were nevertheless disseminated nationwide, including to Allen County

prescribers and patients and continue to be disseminated and have never been amended

or retracted.

       180.     One Vehicle for Defendants’ marketing collaboration was Pain Care Forum

(“PCF”). PCF began in 2004 as an APF project with the stated goals of offering “a setting

where multiple organizations can share information” and “promote and support taking

collaborative action regarding federal pain policy issues.” APF President Will Rowe

described the forum as “a deliberate effort to positively merge the capacities of industry,

professional associations, and patient organizations.”

       181.     PCF is comprised of representatives from opioid manufacturers and

distributors (including Cephalon, Endo, Janssen, and Purdue); doctors and nurses in the

field of pain care; professional organizations (including AAPM, APS, and American
Society of Pain Educators); patient advocacy groups (including APF and American

Chronic Pain Association (“ACPA”)); and other like-minded organizations, almost all of

which received substantial funding from Defendants.

       182.     PCF,   for   example,   developed        and   disseminated    “consensus

recommendations” for a Risk Evaluation and Mitigation Strategy (“REMS”) for long-

acting opioids that the FDA mandated in 2009 to communicate the risks of opioids to




                                            42
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 43 of 76. PageID #: 43




prescribers and patients.39 This was critical because a REMS that went too far in

narrowing the uses or benefits or highlighting the risks of chronic opioid therapy would

undermine Defendants’ marketing efforts. The recommendations claimed that opioids

were “essential” to the management of pain, and that the REMS “should acknowledge

the importance of opioids in the management of pain and should not introduce new

barriers.” Defendants worked with PCF members to limit the reach and manage the

message of the REMS, which enabled them to maintain, not undermine, their deceptive

marketing of opioids for chronic pain.

   F. Defendants’ Misrepresentations

      183.   Defendants, through their own marketing efforts and publications and

through their sponsorship and control of patient advocacy and medical societies and

projects, caused deceptive materials and information to be placed into the marketplace,

including to prescribers, patients, and payors in Allen County. These promotional

messages were intended to and did encourage patients to ask for doctors to prescribe,

and payors to pay for chronic opioid therapy.

      184.   Doctors are the gatekeepers for all prescription drugs so, not surprisingly,

Defendants focused the bulk of their marketing efforts, and their multi-million dollar

budgets, on the professional medical community. Particularly because of barriers to
prescribing opioids, which are regulated as controlled substances, Defendants knew

doctors would not treat patients with common chronic pain complaints with opioids

unless doctors were persuaded that opioids had real benefits and minimal risks.

Accordingly, Defendants did not disclose to prescribers, patients or the public that

evidence in support of their promotional claims was inconclusive, non-existent or

unavailable. Rather, each Defendant disseminated misleading and unsupported

39 The FDA can require a drug maker to develop a REMS—which could entail (as in this

case) an education requirement or distribution limitation—to manage serious risks
associated with a drug.


                                          43
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 44 of 76. PageID #: 44




messages that caused the target audience to believe those messages were corroborated

by scientific evidence. As a result, doctors treating Allen County residents began

prescribing opioids long-term to treat chronic pain – something that most never would

have considered prior to Defendants’ campaign.

       185.   Drug company marketing materially impacts doctors’ prescribing

behavior.40 Doctors rely on drug companies to provide them with truthful information

about the risks and benefits of their products, and they are influenced by their patients’

requests for particular drugs and payors’ willingness to pay for those drugs.

       186.   Defendants spent millions of dollars to market their drugs to prescribers

and patients and meticulously tracked their return on that investment. In one recent

survey published by the AMA, even though nine in ten general practitioners reported

prescription drug abuse to be a moderate to large problem in their communities, 88% of

the respondents said they were confident in their prescribing skills, and nearly half were

comfortable using opioids for chronic non-cancer pain.41 These results are directly due to

Defendants’ fraudulent marketing campaign.

       187.   As described in detail below, Defendants:

          •   misrepresented the truth about how opioids lead to addiction;

          •   misrepresented that opioids improve function;

40 See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription
Behavior to Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004)
(detailing has a positive impact on prescriptions written); I. Larkin, Restrictions on
Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and Antipsychotics
in Children, 33(6) Health Affairs 1014 (2014) (finding academic medical centers that
restricted direct promotion by pharmaceutical sales representatives resulted in a 34%
decline in on-label use of promoted drugs); see also A. Van Zee, The Promotion and
Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub.
Health 221 (2009) (correlating an increase of OxyContin prescriptions from 670,000
annually in 1997to 6.2 million in 2002 to a doubling of Purdue’s sales force and trebling
of annual sales calls).
41 Research Letter, Prescription Drug Abuse:         A National Survey of Primary Care
Physicians, JAMA Intern. Med. (Dec. 8, 2014), E1-E3.


                                             44
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 45 of 76. PageID #: 45




           •   misrepresented that addiction risk can be managed;
           •   misled doctors, patients, and payors through the use of misleading terms
               like “pseudoaddiction;”

           •   falsely claimed that withdrawal is simply managed;

           •   misrepresented that increased doses pose no significant additional risks;
           •   falsely omitted or minimized the adverse effects of opioids and overstated
               the risks of alternative forms of pain treatment.

      188.     Defendants’ misrepresentations were aimed at doctors, patients, the public,

and payors.

      189.     Underlying each of Defendants’ misrepresentations and deceptions in

promoting the long-term continuous use of opioids to treat chronic pain was Defendants’

collective effort to hide from the medical community and the public the fact that there

exist no adequate and well-controlled studies of opioid use longer than 12 weeks.42

      i.       Defendants, acting individually and collectively, misrepresented the truth about
               how opioids lead to addiction.

      190.     Defendants’ fraudulent representation that opioids are rarely addictive is

central to Defendants’ scheme. Through their well-funded, comprehensive, aggressive

marketing efforts, Defendants succeeded in changing the perceptions of many

physicians, patients, the public, and health care payors and in getting them to accept that

addiction rates are low and that addiction is unlikely to develop when opioids are

prescribed for pain. That, in turn, directly led to the expected, intended, and foreseeable

result that doctors prescribed more opioids to more patients – thereby enriching

Defendants.




42Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew
Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-
2012-P-0818 (Sept. 10, 2013).


                                              45
      Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 46 of 76. PageID #: 46




       191.   Each of the Defendants claimed that the potential for addiction from its

drug was relatively small or non-existent, even though there was no scientific evidence

to support those claims.

       192.   For example, Cephalon and Purdue sponsored APF’s Treatment Options: A

Guide for People Living with Pain (2007), which taught that addiction is rare and limited to

extreme cases of unauthorized dose escalations, obtaining opioids from multiple sources,

or theft.

       193.   For another example, Endo sponsored a website, painknowledge.com,

through APF, which claimed that: “[p]eople who take opioids as prescribed usually do

not become addicted.” Although the term “usually” is not defined, the overall

presentation suggests that the rate is so low as to be immaterial. The language also implies

that as long as a prescription is given, opioid use will not become problematic.

       194.   For another example, Endo distributed a patient education pamphlet

entitled Understanding Your Pain: Taking Oral Opioid Analgesics. It claimed that “[a]ddicts

take opioids for other reasons [than pain relief], such as unbearable emotional problems.”

This implies that patients prescribed opioids for genuine pain will not become addicted,

which is unsupported and untrue.




                                            46
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 47 of 76. PageID #: 47




       195.   For another example, Janssen sponsored a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009) in conjunction with the AAPM,

ACPA and APF, which, as set forth in the excerpt below, described as a “myth” the fact

that opioids are addictive, and asserts as fact that “[m]any studies show that opioids are

rarely addictive when used properly for the management of chronic pain.”




Although the term “rarely” is not defined, the overall presentation suggests that the rate

is so low as to be immaterial. The language also implies that as long as a prescription is

given, opioid use is unlikely to lead to addiction, which is untrue.

       196.   The guide states as a “fact” that “Many studies” show that opioids are rarely

addictive when used for chronic pain. In fact, no such studies exist.

       197.   For another example, Purdue sponsored and Janssen provided grants to
APF to distribute Exit Wounds (2009) to veterans, which taught, “[l]ong experience with



                                            47
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 48 of 76. PageID #: 48




opioids shows that people who are not predisposed to addiction are very unlikely to

become addicted to opioid pain medications.” Although the term “very unlikely” is not

defined, the overall presentation suggests that the rate is so low as to be immaterial.

       198.   For another example, Purdue sponsored APF’s A Policymaker’s Guide to

Understanding Pain & Its Management, which inaccurately claimed that less than 1% of

children prescribed opioids would become addicted.43 This publication also falsely

asserted that pain is undertreated due to “misconceptions about opioid addiction.”

       199.   For another example, in the 1990s, Purdue amplified the pro-opioid

message with promotional videos and featuring doctors in which it was claimed, “the

likelihood that treatment of pain using an opioid drug which is prescribed by a doctor

will lead to addiction is extremely low.”44

       200.   Rather than honestly disclose the risk of addiction, Defendants attempted

to portray those who were concerned about addiction as callously denying treatment to

suffering patients. To increase pressure on doctors to prescribe chronic opioid therapy,

Defendants turned the tables: they suggested that doctors who failed to treat their

patients’ chronic pains with opioids were failing their patients and risking professional

discipline, while doctors who relieved their pain using long-term opioid therapy were

following the compassionate (and professionally less risky) approach. Defendants
claimed that purportedly overblown worries about addiction cause pain to be under-

treated and opioids to be over-regulated and under-prescribed. The Treatment Options

guide funded by Purdue and Cephalon states “[d]espite the great benefits of opioids, they

are often underused.” The APF publication funded by Purdue, A Policymaker’s Guide to


43 In support of this contention, it misleadingly cites a 1996 article by Dr. Kathleen Foley

concerning cancer pain.
44 Excerpts from one such video, including the statement quoted here, may be viewed at

http://www.wsj.com/articles/SB10001424127887324478304578173342657044604
(accessed August 18, 2017).



                                              48
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 49 of 76. PageID #: 49




Understanding Pain & Its Management, laments that: “Unfortunately, too many Americans

are not getting the pain care they need and deserve. Some common reasons for difficulty

in obtaining adequate care include … misconceptions about opioid addiction.”45

       201.   Let’s Talk Pain, sponsored by APF, AAPM and Janssen, likewise warns,

“strict regulatory control has made many physicians reluctant to prescribe opioids. The

unfortunate casualty in all of this is the patient, who is often undertreated and forced to

suffer in silence.” The program goes on to say, “[b]ecause of the potential for abusive

and/or addictive behavior, many health care professionals have been reluctant to

prescribe opioids for their patients…. This prescribing environment is one of many

barriers that may contribute to the undertreatment of pain, a serious problem in the

United States.”

       ii.    Defendants, acting individually and collectively, misrepresented that opioids
              improve function

       202.   Defendants produced, sponsored, or controlled materials with the

expectation that, by instructing patients and prescribers that opioids would improve

patient functioning and quality of life, patients would demand opioids and doctors

would prescribe them. These claims also encouraged doctors to continue opioid therapy

for patients in the belief that lack of improvement in quality of life could be alleviated by

increasing doses or prescribing supplemental short-acting opioids to take on an as-

needed basis for breakthrough pain.

       203.   Although opioids may initially improve patients’ function by providing

pain relief in the short term, there exist no controlled studies of the use of opioids beyond

12 weeks and no evidence that opioids improve patients’ function in the long-term.

Indeed, research such as a 2008 study in the journal Spine has shown that pain sufferers

prescribed opioids long-term suffered addiction that made them more likely to be

45 This claim also appeared in a 2009 publication by APF, A Reporter’s Guide.




                                             49
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 50 of 76. PageID #: 50




disabled and unable to work.46 Despite this lack of evidence of improved function, and

the existence of evidence to the contrary, Defendants consistently promoted opioids as

capable of improving patients’ function and quality of life without disclosing the lack of

evidence for this claim.

       204.   Claims that opioids improve patients’ function are misleading because such

claims have “not been demonstrated by substantial evidence or substantial clinical

experience.”47

       205.   The Federation of State Medical Boards’ Responsible Opioid Prescribing

(2007), sponsored by drug companies including Cephalon, Endo, and Purdue, supported

by APF and AAPM, and written by Dr. Fishman and with Dr. Fine on the Board of

Advisors, taught that relief of pain itself improved patients’ function: “While significant

pain worsens function, relieving pain should reverse that effect and improve function.”48

       206.   Cephalon and Purdue sponsored the APF’s Treatment Options: A Guide for

People Living with Pain (2007), which taught patients that opioids, when used properly

“give [pain patients] a quality of life we deserve.” The Treatment Options guide notes

that non-steroidal anti-inflammatory drugs (e.g., aspirin or ibuprofen) have greater risks

with prolonged duration of use, but there was no similar warning for opioids. The APF

distributed 17,200 copies of this guide in one year alone, according to its 2007 annual
report, and it is currently available online.

       207.   Endo sponsored a website, painknowledge.com, through the APF, which

claimed in 2009 that with opioids, “your level of function should improve; you may find

46 Jeffrey Dersh, et al., Prescription opioid dependence is associated with poorer outcomes in

disabling spinal disorders, 33(20) Spine 2219-27 (Sept. 15, 2008).
47 Letter from Thomas W. Abrams, RPh., MBA, Dir., Div. of Marketing, Advertising and

Communications to Brian A. Markison, Chairman, King Pharmaceuticals, Re: NDA 21-260
(March 24, 2008).
48 Responsible Opioid Prescribing, (available at https://archive.org/stream/279187-

responsible-opioid-prescribing-info/279187-responsible-opioid-prescribing-
info_djvu.txt (accessed August 31, 2017).


                                                50
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 51 of 76. PageID #: 51




you are now able to participate in activities of daily living, such as work and hobbies, that

you were not able to enjoy when your pain was worse.” Elsewhere, the website touted

improved quality of life as well as “improved function” as benefits of opioid therapy.

       208.   Janssen sponsored a patient education guide entitled Finding Relief: Pain

Management for Older Adults (2009) in conjunction with the AAPM, ACPA and APF. This

guide features a man playing golf on the cover and lists examples of expected functional

improvement from opioids like sleeping through the night, returning to work, recreation,

sex, walking, and climbing stairs.

       209.   As set forth in the excerpt below, the guide states as a “fact” that “opioids

may make it easier for people to live normally” (emphasis in the original). The myth/fact

structure implies authoritative support for the claim that does not exist. The targeting of

older adults also ignored heightened opioid risks in this population.




                                             51
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 52 of 76. PageID #: 52




       210.   Janssen sponsored a website, Let’s Talk Pain in 2009, acting in conjunction

with the APF, AAPM, and American Society for Pain Management Nursing whose

participation in Let’s Talk Pain Janssen financed and orchestrated. This website featured

a video interview, which was edited by Janssen personnel, claiming that opioids were

what allowed a patient to “continue to function,” falsely implying that her experience

would be representative.

       211.   Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management (2011), which inaccurately claimed that “multiple clinical studies” have

shown that opioids are effective in improving daily function, psychological health, and

health-related quality of life for chronic pain patients,” with the implication these studies

presented claims of long-term improvement.




                                             52
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 53 of 76. PageID #: 53




The sole reference for the functional improvement claim (i) noted the absence of long-

term studies and (ii) actually stated, “For functional outcomes, the other analgesics were

significantly more effective than were opioids.”

       212.   Purdue sponsored and Janssen provided grants to APF to distribute Exit

Wounds to veterans, which taught that opioid medications “increase your level of

functioning” (emphasis in the original).

       iii.   Defendants, acting individually and collectively, misrepresented that addiction risk
              can be effectively managed

       213.   Defendants each continue to maintain to this day that most patients safely

can take opioids long-term for chronic pain without becoming addicted. None of the

Defendants have withdrawn, amended or retracted their false statements or attempted

to reeducate the medical community that what they originally taught was false and

misleading.

       214.   Presumably to explain why doctors encounter so many patients addicted to

opioids, Defendants have come to admit that some patients could become addicted, but

that doctors can effectively avoid or manage that risk by using screening tools or

questionnaires. These tools, they say, identify those with higher addiction risks

(stemming from personal or family histories of substance abuse, mental illness, or abuse)

so that doctors can more closely monitor patients at greater risk of addiction.

       215.   There are three fundamental flaws in Defendants’ representations that

doctors can consistently identify and manage the risk of addiction. First, there is no

reliable scientific evidence that doctors can depend on the screening tools currently

available to materially limit the risk of addiction. Even if the tools are effective, they may

not always be applied correctly, and are subject to manipulation by patients. Second,

there is no reliable scientific evidence that high-risk or addicted patients identified

through screening can take opioids long-term without triggering or worsening addiction,
even with enhanced monitoring. Third, there is no reliable scientific evidence that


                                               53
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 54 of 76. PageID #: 54




patients who are not identified through such screening can take opioids long-term

without significant danger of addiction.

       216.   Addiction is difficult to predict on a patient-by-patient basis, and there are

no reliable, validated tools to do so. An Evidence Report by the Agency for Healthcare

Research and Quality (“AHRQ”), which “systematically review[ed] the current evidence

on long-term opioid therapy for chronic pain” identified “[n]o study” that had

“evaluated the effectiveness of risk mitigation strategies, such as use of risk assessment

instruments, opioid management plans, patient education, urine drug screening,

prescription drug monitoring program data, monitoring instruments, more frequent

monitoring intervals, pill counts, or abuse-deterrent formulations on outcomes related to

overdose, addiction, abuse or misuse.”49 Furthermore, attempts to treat high-risk

patients, like those who have a documented predisposition to substance abuse, by

resorting to patient contracts, more frequent refills, or urine drug screening are not

proven to work in the real world, even when well meaning, but doctors were misled to

employ them.50

       217.   Defendants’ misrepresentations regarding the risk of addiction from

chronic opioid therapy were particularly dangerous because they were aimed at general

practitioners or family doctors (collectively “GPs”), who treat many chronic conditions
but lack the time and expertise to closely manage patients on opioids by reviewing urine

screens, counting pills, or conducting detailed interviews to identify other signs or risks

of addiction. One study conducted by pharmacy benefits manager Express Scripts

concluded, after analyzing 2011-2012 narcotic prescription data of the type regularly used

49 The Effectiveness and Risks of Long-term Opioid Treatment of Chronic Pain, Agency

for Healthcare Res. & Quality (Sept. 19, 2014).
50 M. Von Korff, et al., Long-term opioid therapy reconsidered, 15595, Annals Internal Med.

325 (Sept. 2011); L. Manchikanti, et al., American Society of Interventional Pain
Physicians (ASIPP) Guidelines for Responsible Opioid Prescribing in Chronic Non-Cancer Pain:
Part I – Evidence Assessment, 15 Pain Physician S1 (2012).



                                            54
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 55 of 76. PageID #: 55




by Defendants to market their drugs, that, of the more than half a million prescribers of

opioids during that time period, only 385 were identified as pain specialists.51

       218.   In materials they produced, sponsored, or controlled, Defendants

instructed patients and prescribers that screening tools can identify patients predisposed

to addiction, thus making doctors feel more comfortable prescribing opioids to their

patients and patients more comfortable starting on opioid therapy for chronic pain.

Defendants’ marketing scheme contemplated a “heads we win; tails we win” outcome:

patients deemed low risk were to receive opioids on a long-term basis without enhanced

monitoring, while patients deemed high risk were also to receive opioids on a long-term

basis but with more frequent visits, tests and monitoring – with those added visits, tests,

and monitoring to be paid for or reimbursed by payors, including Plaintiff. This, of

course, led to a “heads you lose; tails you lose” outcome for patients – all of whom are

subjected to an unacceptable risk of addition – and for payors, including Plaintiff.

       219.   Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

People Living with Pain (2007), which falsely reassured patients that “opioid agreements”

between doctors and patients can “ensure that you take the opioid as prescribed.”

       220.   Endo paid for a 2007 supplement available for continuing education credit

in the Journal of Family Practice written by a doctor who became a member of Endo’s
speaker’s bureau in 2010. This publication, entitled Pain Management Dilemmas in Primary

Care: Use of Opioids, (i) recommended screening patients using tools like (a) the Opioid

Risk Tool created by Defendant Dr. Webster and linked to Janssen or (b) the Screener and

Opioid Assessment for Patients with Pain, and (ii) taught that patients at high risk of

addiction could safely receive chronic opioid therapy using a “maximally structured

approach” involving toxicology screens and pill counts.



51 Express Scripts Lab, A Nation in Pain: Focusing on U.S. Opioid Trends for Treatment

of Short-Term and Longer-Term Pain (December 2014).


                                            55
        Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 56 of 76. PageID #: 56




         221.    Purdue sponsored a 2011 webinar taught by Defendant Dr. Webster,

entitled Managing Patient’s Opioid Use: Balancing the Need and Risk. This publication

misleadingly taught prescribers that screening tools, urine tests, and patient agreements

have the effect of preventing “overuse of prescriptions” and “overdose deaths.”

         iv.     Defendants, acting individually and collectively, misled physicians, patients, and
                 payors through the use of misleading pseudowords like “pseudoaddiction.”

         222.    Defendants instructed patients and prescribers that signs of addiction are

actually the product of untreated pain, thereby causing doctors to prescribe even more

opioids despite signs that the patient was addicted. The word “pseudoaddiction” was

concocted by Dr. J. David Haddox, who later went to work for Purdue, and was

popularized in opioid therapy for chronic pain by Dr. Portenoy. Much of the same

language appears in other Defendants’ treatment of this issue, highlighting the contrast

between “undertreated pain” and “true addiction” – as if patients could not experience

both.

         223.    In the materials they produced, sponsored, or controlled, Defendants

misrepresented that the concept of “pseudoaddiction” is substantiated by scientific

evidence.       Defendants    have    never    withdrawn,     amended      or   retracted    these

representations.

         224.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical

Boards’ Responsible Opioid Prescribing (2007) written by Dr. Fishman and with Dr. Fine

on the Board of Advisors, which taught that behaviors such as “requesting drugs by

name,” “demanding or manipulative behavior,” seeing more than one doctor to obtain

opioids, and hoarding, which are in fact signs of genuine addiction, are all really signs of

“pseudoaddiction.”

         225.    Purdue did not mention that the author who concocted both the word and

the phenomenon it purported to describe became a Purdue Vice President; nor did




                                                 56
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 57 of 76. PageID #: 57




Purdue disclose the lack of scientific evidence to support the existence of

“pseudoaddiction.”52

       226.   Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, PartnersAgainstPain.com, in 2005, and upon

information and belief circulated this pamphlet after 2007. The pamphlet listed conduct

including “illicit drug use and deception” that it claimed was not evidence of true

addiction but rather was indicative of “pseudoaddiction” caused by untreated pain. It

also stated, “Pseudoaddiction is a term which has been used to describe patient behaviors

that may occur when pain is untreated …. Even such behaviors as illicit drug use and

deception can occur in the patient’s efforts to obtain relief. Pseudoaddiction can be

distinguished from true addiction in that the behaviors resolve when the pain is

effectively treated.”

       v.     Defendants, acting individually and collectively, claimed withdrawal is simply
              managed.

       227.   In an effort to underplay the risk and impact of addiction, Defendants

claimed that, while patients become physically “dependent” on opioids, physical

dependence is not the same as addiction and can be addressed, if and when pain relief is

no longer desired, by gradually tapering patients’ dosage to avoid the adverse effects of

withdrawal. Defendants fail to disclose the extremely difficult and painful effects that

patients can experience when they are removed from opioids – an adverse effect that also

makes it less likely that patients will be able to stop using the drugs.

       228.   In materials Defendants produced, sponsored, and/or controlled,

Defendants made misrepresentations to persuade doctors and patients that withdrawal




52 J. David Haddox & David E. Weissman, Opioid pseudoaddiction – an iatrogenic syndrome,

36(3) Pain 363 (Mar. 1989).


                                             57
       Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 58 of 76. PageID #: 58




from their opioids was not a problem and they should not be hesitant about prescribing

or using opioids. These claims were not supported by scientific evidence.

        229.   A CME sponsored by Endo entitled Persistent Pain in the Older Adult, taught

that withdrawal symptoms can be avoided entirely by tapering a patient’s opioid dose

by 10% to 20% per day for ten days. This claim was misleading because withdrawal in a

patient already physically dependent would take longer than ten days – when it is

successful at all.53

        230.   Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which taught that “Symptoms of physical dependence can often be

ameliorated by gradually decreasing the dose of medication during discontinuation,” but

the guide did not disclose the significant hardships that often accompany cessation of

use.

        vi.    Defendants, acting individually and collectively, misrepresented that increased
               doses pose no significant additional risks.

        231.   Defendants claimed that patients and prescribers could increase doses of

opioids indefinitely without added risk, even when pain was not decreasing or when

doses had reached levels that were “frighteningly high,” suggesting that patients would

eventually reach a stable, effective dose. Each of Defendants’ claims was deceptive in that

it omitted warnings of increased adverse effects that occur at higher doses.

        232.   In materials Defendants produced, sponsored or controlled, Defendants

instructed patients and prescribers that patients could remain on the same dose

indefinitely, assuaging doctors’ concerns about starting patients on opioids or increasing

their doses during treatment, or about discontinuing their patients’ treatment as doses

escalated. These claims were not supported by scientific evidence.



53 See Jane Ballantyne, New Addiction Criteria: Diagnostic Challenges Persist in Treating Pain

With Opioids, 21(5) Pain Clinical Updates (Dec. 2013).


                                              58
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 59 of 76. PageID #: 59




       233.    Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

People Living with Pain (2007), which claims that some patients “need” a larger dose of an

opioid, regardless of the dose currently prescribed. The guide taught that opioids differ

from NSAIDs in that they have “no ceiling dose” and are therefore the most appropriate

treatment for severe pain. The publication attributes 10,000 to 20,000 deaths annually to

NSAID overdose when the true figure was closer to 3,200 at the time.54

       234.    Cephalon sponsored a CME written by KOL Defendant Dr. Webster,

Optimizing Opioid Treatment for Breakthrough Pain, offered by Medscape, LLC from

September 28, 2007 through December 15, 2008. The CME taught that non-opioid

analgesics and combination opioids containing non-opioids such as aspirin and

acetaminophen are less effective at treating breakthrough pain because of dose

limitations on the non-opioid component.

       235.    Endo sponsored a website, painknowledge.com, through APF, which claimed

in 2009 that opioids may be increased until “you are on the right dose of medication for

your pain,” at which point further dose increases would not be required.

       236.    Endo distributed a patient education pamphlet entitled Understanding Your

Pain: Taking Oral Opioid Analgesics, which was published on Endo’s website. In Q&A

format, it asked, “If I take the opioid now, will it work later when I really need it?” The
response is, “The dose can be increased. … You won’t ‘run out’ of pain relief.”

       237.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which taught that dose escalations are “sometimes necessary,” even

indefinite ones, but did not disclose the risks from high-dose opioids. This publication is

still available online.



54 Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and

Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic
Studies, 11 Am. J. of Therapeutics 17-25 (2004).


                                             59
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 60 of 76. PageID #: 60




       238.   Purdue sponsored Overview of Management Options, a CME issued by the

AMA in 2003, 2007, 2010, and 2013. The 2013 version remains available for CME credit.

The CME taught that NSAIDs and other drugs, but not opioids, are unsafe at high doses.

       vii.   Defendants, acting individually and collectively, deceptively omitted or minimized
              the adverse effects of opioids and overstated the risks of alternative forms of pain
              treatment.

       239.   In materials they produced, sponsored or controlled, Defendants omitted

known risks of chronic opioid therapy and emphasized or exaggerated risks of competing

products so that prescribers and patients would be more likely to choose opioids and
would favor opioids over other therapies such as over-the-counter acetaminophen or

over-the-counter or prescription NSAIDs. None of these claims was supported by

scientific evidence.

       240.   In addition to failing to disclose in promotional materials the risks of

addiction, abuse, overdose, and respiratory depression, Defendants routinely ignored the

risks of hyperalgesia, a “known serious risk associated with chronic opioid analgesic

therapy in which the patient becomes more sensitive to certain painful stimuli over

time;”55 hormonal dysfunction;56 decline in immune function; mental clouding,

confusion, and dizziness; increased falls and fractures in the elderly;57 neonatal

abstinence syndrome (when an infant exposed to opioids prenatally suffers withdrawal

after birth), and potentially fatal interactions with alcohol or benzodiazepines, which are




55 Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew
Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-
2012-P-0818 (Sept. 10, 2013).
56 H.W. Daniell, Hypogonadism in men consuming sustained-action oral opioids, 3(5) J. Pain

377-84 (2001).
57 See Bernhard M. Kuschel, The risk of fall injury in relation to commonly prescribed

medications among older people – a Swedish case-control study, Eur. J. Pub. H. (July 31, 2014).



                                               60
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 61 of 76. PageID #: 61




used to treat post-traumatic stress disorder and anxiety, which often accompany chronic

pain symptoms.58

         241.   Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

People Living with Pain (2007), which taught patients that opioids differ from NSAIDs in

that they have “no ceiling dose” and are therefore the most appropriate treatment for

severe pain. The publication attributes 10,000 to 20,000 deaths annually to NSAID

overdose when the figure is closer to 3,200.59 Treatment Options also warned that risks of

NSAIDS increase if “taken for more than a period of months,” with no corresponding

warning about opioids.

         242.   Endo sponsored a website, painknowledge.com, through APF, which

contained a flyer called “Pain: Opioid Therapy.” This publication included a list of

adverse effects that omitted significant adverse effects including hyperalgesia, immune

and hormone dysfunction, cognitive impairment, tolerance, dependence, addiction, and

death.

         243.   Janssen and Purdue sponsored and Endo provided grants to APF to

distribute Exit Wounds (2009) to veterans, which omits warnings of the risk of potentially

fatal interactions between opioids and benzodiazepines, which are commonly prescribed

to veterans suffering from post-traumatic stress disorder.
         244.   As a result of Defendants’ campaign of deception, promoting opioids over

safer and more effective drugs, opioid prescriptions increased even as the percentage of

patients visiting a doctor for pain remained constant. A study of 7.8 million doctor visits

between 2000 and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of


58 Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-

Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940-47 (2012).
59 Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and

Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic
Studies, 11 Am. J. of Therapeutics 17-25 (2004).



                                             61
        Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 62 of 76. PageID #: 62




visits, as NSAID and acetaminophen prescriptions fell from 38% to 29%, driven primarily

by the decline in NSAID prescribing.60

   G. Defendants Knew That Their Marketing of Chronic Opioid Therapy Was False,
      Unfounded, and Dangerous and Would Harm Plaintiff

         245.   Defendants made, promoted, and profited from their misrepresentations –

individually and collectively – knowing that their statements regarding the risks,

benefits, and superiority of opioids for chronic pain were false and misleading. Cephalon

and Purdue entered into settlements in the hundreds of millions of dollars to resolve

criminal and federal charges involving nearly identical conduct. Defendants had access

to scientific studies, detailed prescription data, and reports of adverse events, including

reports of addiction, hospitalization, and deaths – all of which made clear the significant

adverse outcomes from opioids and that patients were suffering from addiction,

overdoses, and death in alarming numbers.

         246.   Defendants expected and intended that their misrepresentations would

induce doctors to prescribe, patients to use, and payors to pay for their opioids for chronic

pain.

         247.   When they began their deceptive marketing practices, Defendants

recklessly disregarded the harm that their practices were likely to cause. As their scheme

was implemented, and as reasonably foreseeable harm began to occur, Defendants were

well aware that it was occurring. Defendants closely monitored their own sales and the

habits of prescribing doctors, which allowed them to see sales balloon – overall, in



60 M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the

United States, 2000-2010, 51(10) Med. Care, 870-878 (2013). For back pain alone, the
percentage of patients prescribed opioids increased from 19% to 29% between 1999 and
2010, even as the use of NSAIDs or acetaminophen declined from 39.9% to 24.5% of these
visits; and referrals to physical therapy remained steady. See also J. Mafi, et al., Worsening
Trends in the Management and Treatment of Back Pain, 173(17) J. of the Am Med. Ass’n
Internal Med. 1573, 1573 (2013).


                                             62
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 63 of 76. PageID #: 63




individual practices, and for specific indications. Their sales representatives, who visited

doctors and attended CME programs, knew what types of doctors were receiving their

messages and how they were responding. Moreover, Defendants had access to, and

carefully monitored government and other data that tracked the explosive rise in opioid

use, addiction, injury, and death.

   H. Defendants Fraudulently Concealed their Misrepresentations

       248.   Defendants took steps to avoid detection of, and to fraudulently conceal,

their deceptive marketing and conspiratorial behavior.

       249.   Defendants disguised their own roles in the deceptive marketing by

funding and working through Front Groups purporting to be patient advocacy and

professional organizations and through paid KOLs. Defendants purposefully hid behind

the assumed credibility of the front organizations and KOLs and relied on them to vouch

for the accuracy and integrity of Defendants’ false and misleading statements about

opioid use for chronic pain.

       250.   While Defendants were listed as sponsors of many of the publications

described in this Complaint, they never disclosed their role in shaping, editing, and

approving their content. Defendants exerted their considerable influence on these

purportedly “educational” or “scientific” materials in emails, correspondence, and
meetings with KOLs, Front Groups, and public relations companies that were not public.

       251.   In addition to hiding their own role in generating the deceptive content,

Defendants manipulated their promotional materials and the scientific literature to make

it appear these items were accurate, truthful, and supported by substantial scientific

evidence. Defendants distorted the meaning or import of materials they cited and offered

them as evidence for propositions the materials did no support. The true lack of support

for Defendants’ deceptive messages was not apparent to the medical professionals who

relied upon them in making treatment decisions. The false and misleading nature of




                                            63
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 64 of 76. PageID #: 64




Defendants’ marketing was not known to, nor could it reasonably have been discovered

by, Plaintiff or its residents.

       252.    Defendants also concealed their participation by extensively using the

public relations companies they hired to work with Front Groups to produce and

disseminate deceptive materials.

       253.    Defendants concealed from the medical community, patients, and health

care payors facts sufficient to arouse suspicion of the existence of claims that Plaintiff now

asserts. Plaintiff did not discover the existence and scope of Defendants’ industry-wide

fraud and could not have acquired such knowledge earlier through the exercise of

reasonable diligence.

       254.    Through the public statements, marketing, and advertising, Defendants’

deceptions deprived Plaintiff of actual or implied knowledge of facts sufficient to put

them on notice of potential claims.

   I. Defendants Entered into and Engaged in a Civil Conspiracy

       255.    Defendants entered into a conspiracy to engage in the wrongful conduct

complained of herein, and intended to benefit both independently and jointly from their

conspiracy.

       256.    Defendants agreed among themselves to set up, develop, and fund an
unbranded promotion and marketing network to promote the use of opioids for the

management of pain in order to mislead physicians, patients, health care providers, and

health care payors through misrepresentations or omissions regarding the appropriate

uses, risks, and safety of opioids.

       257.    This network is interconnected and interrelated, as illustrated by Exhibit A,

which is incorporated herein, and relied upon Defendants’ collective use of and reliance

upon unbranded marketing materials, such as KOLs, scientific literature, CMEs, patient
education materials, and Front Groups. These materials were developed and funded



                                             64
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 65 of 76. PageID #: 65




collectively by Defendants, and Defendants relied upon the materials to intentionally

mislead consumers and medical providers of the appropriate uses, risks, and safety of

opioids.

      258.   By knowingly misrepresenting the appropriate uses, risks, and safety of

opioids, Defendants committed overt acts in furtherance of their conspiracy.

      259.   As set forth herein and in Exhibit A, Defendants also conspired with

various KOLs and Front Groups to commit unlawful acts or lawful acts in an unlawful

manner. Defendants knowingly and voluntarily agreed to engage in unfair and deceptive

practices to promote the use of opioids for the treatment of chronic pain by making and

disseminating false, unsubstantiated, and misleading statements and misrepresentations

to prescribers and consumers. Defendants agreed with various KOLs and Front Groups

to make and disseminate these statements in furtherance of their common strategy to

increase opioid sales, and Defendants—along with the Front Groups with whom each of

them conspired—knew that the statements they made and disseminated served this

purpose.

      260.   By engaging in the conduct described in this Complaint, Defendants agreed

with Front Groups that they would deceptively promote the risks, benefits, and

superiority of opioid therapy. As part of their agreements with one another and Front
Groups, Defendants provided support for Front Group’s deceptive statements promoting

opioids and Front Groups used that support to more broadly disseminate deceptive

messaging promoting opioids, which would benefit Defendants’ drug sales, as well as

other opioid makers’ sales.

      261.   Each of the participants in the conspiracies described herein and in Exhibit

A was aware of the misleading nature of the statements they planned to issue and of the

role they played in each scheme to deceptively promote opioids as appropriate for the

treatment of chronic pain. Defendants and third parties nevertheless agreed to
misrepresent the risks, benefits, and superiority of using opioids to the public, patients


                                           65
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 66 of 76. PageID #: 66




and prescribers in Indiana in return for increased pharmaceutical sales, financial

contributions, reputational enhancements, and other benefits.

       262.   As outlined in greater detail herein and as illustrated in Exhibit A, opioid

makers Cephalon, Endo, Janssen, along with Defendants Purdue and Defendant KOLs

played an active role in determining the substance of the misleading messages issued by

Front Groups, including by providing content themselves, editing and approving content

developed by their co-conspirators, and providing slide decks for speaking engagements.

Defendants further ensured that these misstatements were widely disseminated, by both

distributing the misstatements themselves and providing their co-conspirators with

funding and other assistance with distribution. The result was an unrelenting stream of

misleading information about the risks, benefits, and superiority of using opioids to treat

chronic pain from sources Defendants knew were trusted by prescribers. Defendants

exercised direct editorial control over most of these statements. However, even if

Defendants did not directly disseminate or control the content of these misleading

statements, they are liable for conspiring with the third parties who did.

       263.   Defendants participated in unlawful acts or lawful acts in an unlawful

manner by, among other unlawful conduct:

              a. violating the Indiana Deceptive Consumer Sales Act;
              b. perpetrating a public nuisance;

              c. committing common law unjust enrichment; and

              d. perpetuating a fraud.

       264.   By reason of the foregoing, the County was injured and continues to be

injured in that Defendants’ ongoing concerted actions in marketing opioids caused

doctors and other health care providers to prescribe and the County to pay for long-term

opioid treatment using opioids manufactured by Defendants or by other drug makers,

Defendant caused and are responsible for those costs and claims. In addition, the County
has suffered additional damages for the costs of providing and using opioids long-term


                                            66
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 67 of 76. PageID #: 67




to treat chronic pain because its human services, social services, court services, law

enforcement services, the office of the coroner/medical examiner and health services,

including hospital, emergency and ambulatory services, have all been severely impacted

by the crisis.

                                  FIRST CAUSE OF ACTION
                         INDIANA’S DECEPTIVE CONSUMER SALES ACT
                            VIOLATIONS OF I.C. § 24-5-0.5-1, et seq.
                                (AGAINST ALL DEFENDANTS)
       265.      Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       266.      Defendants, among other things, manufacture, distribute, promote, and/or

sell opioids.

       267.      As alleged above, each of the Defendants violated I.C. § 24-5-0.5-1, et seq. by

committing an “unfair, abusive, or deceptive act, omission or practice” with an intent to

sell or to induce sales of opioids.

       268.      These unfair, abusive, or deceptive acts, omissions or practices included,

but were not limited to:
           a. misrepresenting the truth about how opioids lead to addiction;

           b. misrepresenting that opioids improve function;

           c. misrepresenting that addiction risk can be managed;

           d. misleading doctors, patients, and payors through the use of misleading
              terms like “pseudoaddiction;”

           e. falsely claiming that withdrawal is simply managed;

           f. misrepresenting that increased doses pose no significant additional risks;

           g. falsely omitting or minimizing the adverse effects of opioids and
              overstating the risks of alternative forms of pain treatment.




                                                67
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 68 of 76. PageID #: 68




       269.   Defendants, through their conduct up to and including the present day,

continue to make statements and representations to the public that constitute unfair,

abusive, or deceptive acts, omissions or practices with intent to sell or to induce sales of

opioids. Defendants have not pulled their opioid products from the market,

acknowledged the very real dangers of addiction and abuse, even if the opioids are taken

as prescribed, or acknowledged that opioids are inappropriate for long-term pain

management. Instead, each of the Defendants continue to offer their opioid products for

long-term pain management and have taken the position that their opioid products are

not dangerous if taken as prescribed. Defendants have also taken the position that

addiction and overdoses are the result of individual choice to misuse or abuse opioids,

not the dangers inherent in their product, thereby continuing to fuel the crisis.

       270.   Plaintiff has suffered a pecuniary loss because of Defendants’ violations in

an amount to be determined at trial.

                                SECOND CAUSE OF ACTION
                                   PUBLIC NUISANCE
                               (AGAINST ALL DEFENDANTS)
       271.   Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       272.   Each Defendant’s conduct, both individually and collectively, in creating

and then maintaining the opioid crises constitutes a public nuisance. The conduct of each

Defendant involves a significant interference with the public health, the public safety, the

public peace, and the public comfort. Each Defendant’s conduct giving rise to the opioid

crisis is of a continuing nature and has produced a permanent or long-lasting effect that,

as each defendant knows or has reason to know, has a significant effect on the entire

community.

       273.   Each Defendant’s interference with the public health, the public safety, the
public peace, and the public comfort resulted significant harm to the County. The



                                            68
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 69 of 76. PageID #: 69




significant harm that each Defendant has caused the community and the public by its

conduct in creating and then maintaining the opioid crisis for its own individual profit is

substantially offensive and intolerable.

       274.   Each Defendant intentionally caused the public nuisance complained of

herein. The conduct of each Defendant, either individually or collectively, was a

substantial factor in producing and then maintaining the opioid crisis that is a significant

interference with the public health, the public safety, the public peace, and the public

comfort. Further, each Defendant acted either knowing, or were substantially certain, that

their false, deceptive and misleading information and statements regarding the dangers,

addictive nature and abuse potential of their opioid products would result in the public

nuisance and significant harm complained of herein.

       275.   Each Defendant was also negligent as each engaged in the conduct

complained of herein to create an unreasonable risk of the public nuisance complained

of herein, and then failed to abate the public nuisance they created. Moreover, each

Defendant’s negligent conduct, both individually and collectively, was a cause of the

public nuisance complained of herein.

       276.   Each Defendant’s conduct in causing the public nuisance complained of

herein was unreasonable and the gravity of the harm caused far outweighs any utility of
the Defendant’s conduct.

       277.   Each Defendant’s conduct damaged, and continues to damage, the County

in an amount to be determined at trial.
                            THIRD CAUSE OF ACTION
                             UNJUST ENRICHMENT
       VIOLATIONS OF THE COMMON LAW PROHIBITION ON UNJUST ENRICHMENT
                          (AGAINST ALL DEFENDANTS)
       278.   Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.




                                            69
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 70 of 76. PageID #: 70




       279.   Defendants unjustly retained a measurable benefit to the County’s

detriment, and the Defendants’ retention of the benefit violates the fundamental

principles of justice, equity, and good conscience.

       280.   By illegally and deceptively promoting opioids to treat chronic pain,

directly, through their control of third parties, and by acting in concert with third parties,

Defendants have unjustly enriched themselves at the County’s expense. Because of their

deceptive promotion of opioids, Defendants obtained enrichment they would not

otherwise have obtained. The enrichment was without justification and the County lacks

a remedy provided by law.

       281.   Defendants conduct damaged and continues to damage the County in an

amount to be determined at trial.

                                FOURTH CAUSE OF ACTION
                                  COMMON LAW FRAUD
                               (AGAINST ALL DEFENDANTS)
       282.   Plaintiff incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       283.   Defendants conduct constitutes an intentional misrepresentation.

       284.   Defendants, individually and acting through their employees and agents,

and in concert with each other, misrepresented material facts with regards to the use of

opioids to treat chronic pain through various means including but not limited to:
          a. Creating and/ or disseminating advertisements, scientific studies, CMEs,
             and patient and prescriber education materials that contained false,
             misleading, and untrue statements concerning the ability of opioids to
             improve function long-term;

          b. Creating and/or disseminating advertisements, scientific studies, CMEs,
             and patient and prescriber education materials that contained false,
             misleading, and untrue statements concerning the ability of opioids to
             improve quality of life while concealing contrary data;

          c. Creating and/or disseminating advertisements, scientific studies, CMEs,
             and patient and prescriber education materials that contained false,


                                             70
        Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 71 of 76. PageID #: 71




                misleading, and untrue statements concerning the evidence supporting the
                efficacy of opioids long-term for the treatment of chronic non-cancer pain,
                including known rates of abuse and addiction and lack of validation for
                long-term efficacy;

            d. Disseminating misleading statements concealing the true risk of addiction
               and promoting the misleading concept of pseudoaddiction, even for high-
               risk patients;

            e. Disseminating misleading statements concealing the true risk of addiction
               in the elderly;

            f. Endorsing, directly distributing, and assisting in the distribution of
               publications that presented an imbalanced treatment of the long-term and
               dose-dependent risks of opioids versus NSAIDs;

            g. Falsely claiming that withdrawal is simply managed;

            h. Misrepresenting that increased doses of opioids pose no significant
               additional risks.

         285.   Defendants’ false representations and concealments were made with the

intent to deceive the County; as well as County consumers who used or paid for opioids

for chronic pain; County physicians who prescribed opioids to consumers to treat chronic

pain; and County payors, who purchased, or covered the purchase of, opioids for chronic

pain.

         286.   Defendants knew that, barring exceptional circumstances, opioids are too

addictive and too debilitating for long-term use for chronic pain.

         287.   Defendants knew that, with prolonged use, the effectiveness of opioids

wanes, requiring increases in doses to achieve pain relief and markedly increasing the

risk of significant side effects and addiction.61




61 See, e.g., Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current

Status, 1 Progress in Pain Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds.,
1994).


                                              71
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 72 of 76. PageID #: 72




         288.   Defendants knew that controlled studies of the safety and efficacy of

opioids were limited to short-term use in managed settings where the risk of addiction

and other adverse outcomes was significantly minimized.

         289.   Despite the foregoing knowledge, in order to expand the market for opioids

and realize blockbuster profits, Defendants sought to create a false perception of the

safety and efficacy of opioids in the minds of medical professionals and members of the

public that would encourage the use of opioids for longer periods of time and to treat a

wider range of problems, including such common aches and pains as lower back pain,

arthritis, and headaches, and did so through misrepresentations including those listed

above.

         290.   Defendants’ misrepresentations saturated the market, were promulgated in

part by third parties positioned as experts, and extended to almost every available source

of information including prescribing guidelines, CMEs, patient educational materials,

and journal publications.

         291.   Plaintiff did reasonably rely on these false representations made by

Defendants and third parties in their control.

         292.   But for these false representations and concealments of material fact,

Plaintiff would not have purchased or covered the purchase of opioids for chronic pain.
But for these false representations, there would not have been a massive opioid addiction

and overdose epidemic that has strained the Plaintiff’s budgets.

         293.   Defendants’ conduct damaged and continues to damage the County in an

amount to be determined at trial.

                                  FIFTH CAUSE OF ACTION
                                     CIVIL CONSPIRACY
                                (AGAINST ALL DEFENDANTS)
         294.   Plaintiff incorporates the allegations within all prior paragraphs within this
Complaint as if they were fully set forth herein.



                                              72
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 73 of 76. PageID #: 73




       295.   Defendants formed and operated a conspiracy to accomplish an unlawful

purpose or to accomplish their mutual goal of increasing each Defendants’ sales of their

opioid products by unlawful means.

       296.   The conspiracy’s unlawful purpose was to create a false and dangerous

perception amongst both physicians and the public that the risks of addiction and the

abuse potential of Defendants’ opioid products was negligible if taken as prescribed to

treat long-term pain, conduct that is contrary to I.C. § 24-5-0.5-1, et seq, constitutes a fraud,

and created a public nuisance.

       297.   In addition, the conspiracy’s mutual goal was to increase each Defendant’s

sales by spreading untrue, deceptive or misleading information regarding the danger,

risk of addiction, and abuse potential of their opioid products, conduct that is at a

minimum contrary to I.C. § 24-5-0.5-1, et seq, constitutes a fraud, and created a public

nuisance.

       298.   The conspiracy amongst the Defendants is established by all of the acts and

events, viewed as a whole, which as set forth herein and in Exhibit A show how

Defendants cooperated toward the attainment of the common goals of their conspiracy.

This includes, but is not limited to, knowingly and voluntarily agreeing to engage in

unfair and deceptive practices to promote the use of opioids for the treatment of chronic
pain by making and disseminating false, unsubstantiated, and misleading statements and

misrepresentations to prescribers and consumers.

       299.   Defendants enlisted various KOLs and Front Groups as part of their

conspiracy to make and disseminate these statements to further their common strategy

to increase opioid sales.

       300.   Products of the conspiracy include but are not limited to publications,

CMEs, and websites that deceptively promote the risks, benefits, and superiority of

opioid therapy, such as: The Partners Against Pain website (Purdue and APF), A
Policymaker’s Guide to Understanding Pain & Its Management (Purdue and APF), Treatment


                                               73
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 74 of 76. PageID #: 74




Options: A Guide for People Living with Pain (Purdue and APF), Exit Wounds (Purdue and

APF), Responsible Opioid Prescribing (Purdue, Cephalon, Endo, APF, AAPM, and FSMB),

and a CME promoting the Pharmacological Management of Persistent Pain in Older Persons

(Purdue and AGS).

      301.   As outlined in greater detail herein and in Exhibit A, Defendants played an

active role in determining the substance of the misleading messages issued by Front

Groups, including by providing content themselves, editing and approving content

developed by their co-conspirators, and providing slide decks for speaking engagements.

      302.   Defendants further ensured that these misstatements were widely

disseminated, by both distributing the misstatements themselves and providing their co-

conspirators with funding and other assistance for distribution.

      303.   Indeed, even now and having caused the opioid crises complained of

herein, the Defendants have provided a unified front to deny their opioid products are

dangerous to treat long-term pain even if taken as prescribed and instead blame the

addiction and abuse on individual misuse and individual choice. Despite evidence to the

contrary, each Defendant uniformly refuses to acknowledge the very real dangers of

addiction and abuse, even if the opioids are taken as prescribed, or acknowledged that

opioids are inappropriate for long-term pain management, thereby providing further
evidence of their conspiracy.

      304.   The result is an unrelenting stream of misleading information about the

risks, benefits, and superiority of using opioids to treat chronic pain from sources

Defendants knew were trusted by prescribers.

      305.   Defendants’ ongoing civil conspiracy damaged and continues to damage

the County in an amount to be determined at trial.

                                   PRAYER FOR RELIEF

      WHEREFORE Plaintiff demands judgment against Defendants, jointly and severally,
awarding Plaintiff:


                                           74
     Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 75 of 76. PageID #: 75




     1. compensatory damages in an amount sufficient to fairly and completely

        compensate Plaintiff for all damages;

     2. costs and attorney fees;

     3. a declaratory judgment requiring Defendants to abate the public nuisance;

     4. punitive damages;

     5. interest, costs, and disbursements; and

     6. such other and further relief as this Court deems just and proper.

                                         Jury Demand

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues so

triable under the law.


 Dated: January 5, 2018            Simmons Hanly Conroy LLC

                                   By:      /s/Sarah Burns
                                         Sarah Burns
                                         One Court Street
                                         Alton, IL 62002
                                         (618) 259-2222
                                         sburns@simmonsfirm.com

                                         Paul J. Hanly, Jr.*
                                         112 Madison Avenue
                                         New York, NY 10016
                                         (212) 784-6401
                                         phanly@simmonsfirm.com

                                         Charles J. Crueger*
                                         Erin K. Dickinson*
                                         Krista K. Baisch*
                                         CRUEGER DICKINSON LLC
                                         4532 N Oakland Ave.
                                         Whitefish Bay, WI 53211
                                         Direct: 414-210-3868
                                         cjc@cruegerdickinson.com
                                         ekd@cruegerdickinson.com
                                         kkb@cruegerdickinson.com


                                              75
Case: 1:18-op-45121-DAP Doc #: 1 Filed: 01/05/18 76 of 76. PageID #: 76




                            *application for admission forthcoming

                        Attorneys for Plaintiff




                                   76
